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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF IOWA
                                      CENTRAL DIVISION

VEROBLUE FARMS USA, INC.,                                      §
                                                               §          CIVIL ACTION NO. 18-CV-3047
        Plaintiff,                                             §
                                                               §
v.                                                             §
                                                               §     APPENDIX TO DEFENDANT KEITH
LESLIE A. WULF, BRUCE A. HALL,                                 §      DRIVER’S BRIEF IN SUPPORT OF
JAMES REA, JOHN E. REA, and KEITH                              §     MOTION TO TRANSFER VENUE AND
DRIVER,                                                        §       12(b)(6) MOTION TO DISMISS
                                                               §
        Defendants.                                            §



       APPENDIX IN SUPPORT OF DEFENDANT DRIVER’S BRIEF ON MOTION TO
                        TRANSFER VENUE AND DISMISS



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                                            Respectfully submitted,


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                                            ATTORNEYS FOR DEFENDANT
                                            KEITH DRIVER


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
was served upon counsel of records for all parties via ECF Service.

          DATED this 15th day of October, 2018.

                                                   /s/ Heath Cheek
                                                   R. Heath Cheek
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF IOWA
                                    CENTRAL DIVISION

VEROBLUE FARMS USA, INC.,                       )
                                                )
                          Plaintiff,            )
                                                )              No. Case 3:18-cv-03047-CJW
         v.                                     )
                                                )
LESLIE A. WULF, BRUCE A. HALL,                  )
JAMES REA, JOHN E. REA,                         )
and KEITH DRIVER,                               )              JURY TRIAL DEMANDED
                                                )
                          Defendants.           )

                                       AMENDED COMPLAINT

         Plaintiff, VeroBlue Farms USA, Inc. (“VBF”), through its undersigned counsel, complain

of Defendants, Leslie A. Wulf (“Wulf”), Bruce A. Hall (“Hall”), James Rea (“James Rea”), John

E. (“Ted”) Rea (“Ted Rea”), and Keith Driver (“Driver”) (collectively, "Defendants"), as

follows:

                                             Introduction

         Defendants controlled VBF for almost three years from 2014 through 2017. VBF recently

discovered that Defendants, while serving as VBF officers and/or directors, misappropriated

millions of dollars from VBF and otherwise wasted VBF assets. This suit seeks recovery of

damages due VBF and other relief.

                                        Parties and Jurisdiction

         1.        VBF is a Nevada corporation with its principal place of business in Webster City,

Iowa.

         2.        All Defendants are Canadian citizens, except for Hall.




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        3.       Driver, upon information and belief, resides in Calgary, Alberta, Canada. Driver

served as an officer and employee (and/or contractor) of VBF from October 1, 2014 through on or

about January 13, 2017, when VBF terminated his employment and officer status.

        4.       James Rea, upon information and belief, has permanent resident alien status in the

United States. James Rea served as a director, officer and employee (and/or consultant) of VBF

October 1, 2014 through on or about January 8, 2018 when VBF terminated his employment

(and/or contractor), director, and officer status.

        5.       Ted Rea, upon information and belief, has permanent resident alien status in the

United States. Ted Rea served as a director, officer and employee (and/or consultant) of VBF

from October 1, 2014 through on or about October 27, 2017 when VBF terminated his employment

(and/or contractor), director, and officer status.

        6.       Hall, upon information and belief, is a U.S. citizen and a citizen of Texas. Hall

served as a director, officer and employee (and/or consultant) of VBF from October 1, 2014

through on or about October 27, 2017 when VBF terminated his employment (and/or contractor),

director, and officer status.

        7.       Wulf, upon information and belief, has permanent resident alien status in the United

States. Wulf served as a director, officer and employee (and/or contractor) of VBF from October

1, 2014 through on or about November 6, 2017, when VBF terminated his employment (and/or

consultant), director, and officer status.

        8.       This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

§1332(a)(3) as all Defendants except Hall are citizens of a foreign state, Hall is not a citizen of the

same state as VBF, and the amount in controversy exceeds $75,000, exclusive of costs and interest.




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       9.       Venue in this District is proper because the transactions and associated

misconduct at issue in this case occurred in whole or in part in Hamilton County, in the Northern

District of Iowa.

       10.      This Court has personal jurisdiction over Defendants pursuant to Iowa Code § 617.3

as the Defendants committed torts in part in Iowa, and against an Iowa resident, VBF.

                    Defendants’ Misappropriations Of VBF Cash And Other Assets

       11.      VBF was incorporated on September 5, 2014, and operates a sustainable fish farm

(“Farm”) business in Webster City, Iowa. Its website can be found at http://verobluefarms.com/.

       12.      Defendants, shortly thereafter, came into control of VBF, starting October 1, 2014.

       13.      VBF conducted an investigation through which VBF, by March 2018, discovered

the misappropriations and other misconduct alleged herein. VBF did not know, nor could it have

known, of Defendants’ misconduct until that time, especially since Defendants fraudulently

concealed their misconduct from VBF, as further alleged herein.

       14.      VBF has discovered at least ten schemes consummated by the Defendants to

accomplish this misconduct over a time period of approximately three years.                Defendants

accomplished these schemes without the approval of disinterested VBF directors with knowledge

and notice of such schemes.

       BAJJER Stock Scheme

       15.      BAJJER LLC (“BAJJER”) is owned and controlled by some or all Defendants or

their affiliates. On September 18, 2014, Defendants directed VBF to transfer 1,250,000 shares of

VBF’s Canadian affiliate to BAJJER, for a grand total of $1.25. A true and correct copy of

documentation regarding this transaction is attached hereto and incorporated herein as Exhibit A.




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       16.     Such stock was sold to others around that same time for $0.90 per share, meaning

that Defendants received at least $1,125,000 worth of stock for free. Unfortunately, due to

Defendants’ misconduct, stock in VBF and its affiliates has since lost significant value.

       American Growth Funding Loan Scheme

       17.     BAJJER II, LCC (“BAJJER II”) is also owned and controlled by some or all

Defendants or their affiliates (and third parties). American Growth Funding, LLC (“AGF”)

loaned $78,000 to BAJJER II, which grew to $101,000, with interest, and which AGF wrote off

as bad debt on or before December 31, 2016. AGF is a factoring/finance company, and its

affiliates have been sued for fraud by the United States Securities and Exchange Commission, in

the United States District Court for the Southern District of New York, as summarized in this

press release: https://www.sec.gov/news/pressrelease/2016-21.html.

       18.     AGF loaned BAJJER another $200,000, which BAJJER transferred to VBF.

       19.     On July 8, 2016, the Defendants directed VBF to pay AGF $375,000, even though

VBF never had a direct borrowing relationship with AGF. Upon information and belief, this

$375,000 amount encompasses not only the $200,000 referenced in paragraph 18 above, but also

the $101,000 amount referenced in paragraph 17 above.

       20.     Therefore, Defendants utilized VBF funds to repay an alleged debt to AGF

representing funds that did not benefit VBF, but instead that benefitted Defendants personally.

       Wulf Lake House Scheme

       21.     Wulf owns, or owned at relevant times, a vacation home on a lake in Texas (“Wulf

Lake House”). The Wulf Lake House was destroyed by a fire in early 2015.

       22.     Wulf rebuilt the Wulf Lake House from in or around May 2015 through in or around

July 2017.




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       23.     VBF employee Tracy Arbanas (“Arbanas”) oversaw the reconstruction of the Wulf

Lake House, and VBF paid her to do so at an annual cost to VBF of approximately $97,500, which

represented Arbanas’ compensation and benefits. Further, VBF funded housing for Arbanas close

to the lake house, and refreshments for the construction crew on this project. All told, VBF

incurred approximately $107,490.51 for compensation and benefits to Arbanas.

       Sedun Stock Scheme

       24.     Gregg Sedun (“Sedun”), upon information and belief, has had social and/or

business relationships with the Defendants outside of VBF, and preexisting VBF’s incorporation.

       25.     On December 11, 2015, Sedun loaned $200,000 to VBF, and Sedun loaned another

$50,000 to VBF through an entity owned and controlled by Sedun, Alcaron Capital Corp.

(“Alcaron”) on June 23, 2016.

       26.     On July 12, 2016, VBF paid Alcaron $326,056, representing about $76,000 in

interest on $250,000 in loans made only months before the repayment. That same day, July 12,

2016, Wulf authorized VBF to issue 1,500,000 shares of VBF to Alcaron, purportedly for Sedun’s

procurement of other investment in VBF, with Alcaron paying nothing for this stock (again, the

stock was valued at $0.90/share at the time, rendering this allotment of stock to be worth about

$1,350,000 at the time.) Two days later, on July 14, 2016, Sedun loaned Wulf $225,000 for the

Wulf Lake House and Wulf promoted Sedun to be a VBF director.

       Compensation Scheme

       27.     The five Defendants set their own compensation from VBF at $400,000 annually

for each Defendant besides Driver, who made $325,000 annually, for a total for all five Defendants

of $1,925,000 per year. For the sake of reference, there is now one person that has replaced




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Defendants as VBF’s President, and VBF pays him $250,000 per year. Therefore, Defendants

were overpaying themselves at least, and approximately, $1,675,000 per year.

       28.     Additionally, at Defendants’ direction, and for no good reason, VBF paid the five

Defendants twice their monthly compensation in July 2016.

       Christine Gagne Scheme

       29.     Christine Gagne (“Gagne”) is Wulf’s daughter. Gagne is a Canadian citizen without

any legal immigration status to work in the United States. VBF, at Wulf’s direction, purportedly

employed Gagne or contracted with her for alleged services. Gagne would often drive from Canada

allegedly to work at VBF in Webster City, Iowa.

       30.     VBF, at Wulf’s direction, paid Gagne not under her real name, but under the name

“Ronnie O’Brien” to conceal VBF’s payments to her.

       31.     Gagne abruptly left VBF in November 2017, when VBF terminated Wulf’s

employment and other statuses with VBF. At that time, Gagne said the following words to those

present at VBF’s Webster City, Iowa facility at the time, in recognition of the misconduct

represented by her relationship with VBF as fostered by some or all Defendants: “None of you

have ever seen me and you do not know who I am.”

       32.     VBF incurred approximately $52,264.28 for compensation and benefits to Gagne.

Further, this and other schemes demonstrate the general manner with which the Defendants played

“fast and loose” with applicable laws and regulations.

       Tractor-Trailer Scheme

       33.     VBF has sold live fish to its customers at all relevant times, from its Webster City,

Iowa facility. Per industry standard, it is the customer’s obligation to arrange for the pick-up and




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transport of the live fish from the facility, not VBF’s. Therefore, VBF generally does not need

any tractor-trailers.

        34.     Regardless, in or around July and August 2016, some or all Defendants orchestrated

VBF’s purchase of six (6) tractor-trailers at a total cost to VBF of approximately $375,237.77.

These tractor-trailers sat dormant at VBF’s Webster City, Iowa facilities. Ultimately, after

Defendants were terminated by VBF, VBF sold one tractor-trailer. VBF is attempting to use two

of the tractor-trailers, and the other three have sat dormant at VBF’s facilities, despite VBF’s

attempts to sell them.

        35.     At a minimum, this large purchase with VBF funds demonstrates the general

recklessness with which Defendants handled VBF’s money.

        OFA Scheme

        36.     Defendants incorporated Opposing Flows Aquaculture, Inc. (“OFA”) on July 31,

2014 in anticipation of VBF’s operations. VBF grows its fish in tanks that are housed at the Farm

(“Tanks”).

        37.     The Defendants formed OFA to buy Tanks from a third-party, and then to resell

Tanks to VBF at a profit to OFA and the Defendants (“OFA Scheme”).

        38.     Of course, it was more beneficial to VBF not to pay OFA a profit as an unnecessary

“middleman.” Instead, VBF could buy directly from the third party without paying any amount to

OFA, which VBF ultimately has done. Upon information and belief, VBF did not engage in any

transactions with OFA, but, through its count for an equitable accounting, VBF seeks a full

accounting of OFA from Defendants.




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       Other Misappropriations Of VBF Funds For Personal Use

       39.     Defendants engaged in a variety of other schemes through which they orchestrated

VBF’s expenditure of its funds or other assets for Defendants’ personal benefit, not VBF’s,

including, but not limited to, the following:

               a.      travel and other expenses relating to a July 2014 trip by some or
                       all Defendants to Denver, Colorado in relation to a non-VBF business
                       known as ChipMeds, Inc.;

               b.      Wulf's personal cell phone bills well beyond a reasonable
                       amount, or even the amount expensed by the other Defendants;

               c.      James Rea’s personal living expenses in Ames, Iowa,
                       about forty miles from Webster City, Iowa in or around
                       August 2017;

               d.      exorbitant travel expenses for the Defendants to travel to
                       or from Canada or Texas to Webster City, Iowa;

               e.      the unnecessary leasing of twenty-two company vehicles,
                       including Ford Explorers for Defendants’ personal use;

               f.      payment of personal travel expenses for Defendants and some or all of
                       Defendants’ friends and family, including trips to Australia and
                       Norway;

               g.      directing VBF’s controller to perform accounting services
                       for the Defendants’ non-VBF business ventures while on
                       VBF company time and while he was being paid by VBF;

               h.      $310,000 for the purchase of a house in Webster City,
                       Iowa, when the house was worth $240,000, if not less, and
                       the home was not necessary for legitimate business reasons
                       given Defendants’ maintenance of their residence in Texas
                       or Canada. Indeed, VBF, through Hall and possibly other
                       Defendants, purchased this home on August 9, 2016 for
                       $310,000 and VBF sold this home on May 25, 2018 for
                       $232,000. True and correct copies of the relevant closing
                       statements are attached as Exhibit B; and,

               i.      other improper expenditures of VBF funds for some or all
                       of Defendants’ personal expenses.




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       Other Mismanagement Of VBF

       40.     Defendants’ misappropriations of VBF funds and assets are alleged above.

       41.     Further, Defendants violated their fiduciary duty of due care by mismanaging VBF,

including, but not limited to, overbuilding its facilities, presenting highly flawed and intentionally

manipulated business plans, mismanaging technology, mismanaging capital expenditures

(CapEx), mismanaging other financial and operational issues, purchasing unnecessary real and

personal property, overpaying for real and personal property, and otherwise, in a period of three

years, squandering what had been an investment of approximately $100,000,000 in debt and equity

in VBF. Just one example is VBF’s purchase, at the direction of some or all Defendants, of a

building and underlying property unnecessary to VBF’s business and located in Webster City for

$400,000 on July 28, 2016, which VBF sold for $135,000 on April 13, 2018. True and correct

copies of the relevant closing statements are attached as Exhibit C.

       42.     Consequently, due to Defendants’ mismanagement and waste of corporate assets,

above and beyond their misappropriations alleged above, the value of VBF has plummeted from

about $0.90 per share to a dramatically lower value.

               COUNT I-BREACH OF FIDUCIARY DUTY-ALL DEFENDANTS

       43.     VBF adopts and reincorporates paragraphs 1 through 42.

       44.     Defendants owed fiduciary duties to VBF from in or around October 1, 2014,

when they came to control VBF, through and including January 2018, when the last of the

Defendants was terminated as an employee, contractor, officer, and/or director of VBF.

       45.     Defendants’ fiduciary duties to VBF included, but were not limited to, those of

obedience, loyalty, honesty, good faith, and due care.




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       46.     Defendants breached their fiduciary duties to VBF in one ore more of the

following ways:

               a.      by misappropriating VBF funds for Defendants’ personal
                       benefit;

               b.      by misappropriating other VBF assets for Defendants’
                       personal benefit;

               c.      by self-dealing and by concealing their self-dealing from VBF;

               d.      by mismanagement and other waste of corporate assets that
                       led to a dramatic devaluation of VBF to be determined at
                       trial; and

               e.      by otherwise breaching their fiduciary duties to VBF, including
                       but not limited through misconduct that led to a devaluation
                       of VBF.

       47.     VBF suffered injuries as a direct and proximate result of Defendants’ breaches of

fiduciary duty, and Defendants gained a personal benefit from such breaches. VBF’s

compensatory damages are millions of dollars for Defendants’ misappropriations, and are an

additional millions of dollars for Defendants’ mismanagement and other waste of VBF corporate

assets, thereby devaluing VBF.

       48.     Further, Defendants’ breaches of fiduciary duty were willful and egregious, and

therefore punitive damages against Defendants and in favor of VBF are warranted, in an amount

to be determined at trial. Additionally, Defendants’ self-dealing transactions with VBF are

presumed invalid, and the burden of proof lays with Defendants to prove the fairness of such

transactions by clear and convincing evidence. Also, Defendants Hall and Ted Rea have

verbally advised at least one third party that they are “judgment proof,” or words to that effect,

implying that they could commit wrongful acts without recourse.




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       WHEREFORE, Plaintiff, VeroBlue Farms USA, Inc., respectfully requests that this

Court enter judgment in its favor and against the Defendants, Leslie A. Wulf, Bruce A. Hall,

James Rea, John E. (“Ted”) Rea, and Keith Driver, jointly and severally, in an amount in excess

of $75,000, but to be determined at trial, as compensatory damages for misappropriations, plus

compensatory damages representing the devaluation of Plaintiff due to Defendants’

mismanagement and other waste of corporate assets, plus punitive damages, costs, allowable pre-

judgment interest, the imposition of a constructive trust, and other relief deemed just.

                COUNT II-FRAUDULENT CONCEALMENT-ALL DEFENDANTS

       49.     VBF adopts and reincorporates paragraphs 1 through 48.

       50.     Defendants concealed material facts from VBF, including, but not limited to, the

following, as alleged supra:

               a.      the BAJJER stock scheme;

               b.      the American Growth Funding Loan scheme;

               c.      the Wulf Lake House scheme;

               d.      the Sedun stock scheme;

               e.      the compensation scheme;

               f.      the Gagne scheme;

               g.      the tractor-trailer scheme;

               h.      the OFA Scheme;

               i.      Defendants’ other misappropriations of VBF funds or other
                       assets for personal use;

               j.      Defendants’ devaluation of VBF’s stock through their
                       misconduct and other breaches of their duties of due care; and,

               k.      other material facts that would have revealed the existence
                       of Defendants’ misconduct.



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       51.      Defendants, as fiduciaries to VBF, owed VBF a duty to disclose these material

facts to VBF.

       52.      Defendants knew that VBF lacked knowledge of these concealed material facts

until after Defendants were ousted from their positions at VBF by January 2018. Alternatively,

Defendants intended to induce VBF and its shareholders to refrain from attempting to halt

Defendants’ misconduct, mismanagement, and corporate waste by concealing these material

facts from VBF.

       53.      Defendants knowingly failed to disclose these material facts to VBF, also

knowing full well that VBF would not approve of Defendants’ blatant misconduct.

       54.      VBF justifiably relied on Defendants’ failure to disclose these material facts given

Defendants’ status as fiduciaries to VBF and its shareholders. Further, VBF did not have

opportunities equal to Defendants to discover Defendants’ misconduct until after Defendants

were ousted from their positions at VBF.

       55.      VBF suffered injuries as a direct and proximate result of Defendants’ fraudulent

concealment. VBF’s compensatory damages are millions of dollars for Defendants’

misappropriations, in addition to millions of dollars representing the devaluation of VBF caused

by Defendants’ mismanagement and other corporate waste.

       56.      Further, Defendants’ fraudulent concealment was willful and egregious, and

therefore punitive damages against Defendants and in favor of VBF are warranted, in an amount

to be determined at trial. Also, Defendants Hall and Ted Rea have verbally advised at least one

third party that they are “judgment proof,” or words to that effect, implying that they could

commit wrongful acts without recourse.




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       WHEREFORE, the Plaintiff, VeroBlue Farms USA, Inc., respectfully requests that this

Court enter judgment in its favor and against the Defendants, Leslie A. Wulf, Bruce A. Hall,

James Rea, John E. (“Ted”) Rea, and Keith Driver, jointly and severally, in an amount in excess

of $75,000, but to be determined at trial, as compensatory damages for misappropriations, plus

compensatory damages representing the devaluation of Plaintiff due to Defendants’

mismanagement and other waste of corporate assets, plus punitive damages, costs, allowable pre-

judgment interest, the imposition of a constructive trust, and other relief deemed just.

       COUNT III-FRAUDULENT MISREPRESENTATION-ALL DEFENDANTS

       57.     VBF adopts and reincorporates paragraphs 1 through 56.

       58.     Pleading in the alternative, Defendants’ silence in the face of their duties to

disclose their misconduct alleged herein to VBF and its shareholders, constitutes fraudulent

misrepresentation of the material facts alleged in Count II.

       59.     Defendants knew that their failures to disclose these material facts, and therefore

what are deemed to be misrepresentations in light of Defendants’ duties of disclosure to VBF

and its shareholders, were false or alternatively in reckless disregard of the truth.

       60.     Defendants intended to deceive VBF and its shareholders and to induce them to

refrain from attempting to halt Defendants’ misconduct by misrepresenting material facts to

VBF.

       61.     VBF and its shareholders justifiably and detrimentally relied on Defendants’

misrepresentations given Defendants’ status as fiduciaries to VBF and its shareholders.

       62.     VBF suffered injuries as a direct and proximate result of Defendants’ fraudulent

misrepresentation. VBF’s compensatory damages are millions of dollars for Defendants’




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misappropriations, in addition to millions of dollars representing the devaluation of VBF caused

by Defendants’ mismanagement and other corporate waste.

       63.     Further, Defendants’ fraudulent misrepresentation was willful and egregious, and

therefore punitive damages against Defendants and in favor of VBF are warranted, in an amount

to be determined at trial.

       WHEREFORE, the Plaintiff, VeroBlue Farms USA, Inc., respectfully requests that this

Court enter judgment in its favor and against the Defendants, Leslie A. Wulf, Bruce A. Hall,

James Rea, John E. (“Ted”) Rea, and Keith Driver, jointly and severally, in an amount in excess

of $75,000, but to be determined at trial, as compensatory damages for misappropriations, plus

compensatory damages representing the devaluation of Plaintiff due to Defendants’

mismanagement and other waste of corporate assets, plus punitive damages, costs, allowable pre-

judgment interest, the imposition of a constructive trust, and other relief deemed just.

                COUNT IV-CONSTRUCTIVE FRAUD-ALL DEFENDANTS

       64.     VBF adopts and reincorporates paragraphs 1 through 63.

       65.     Defendants’ misconduct, committed while they were fiduciaries to VBF,

constitutes constructive fraud regardless of Defendants’ intent.

       66.     VBF suffered injuries as a direct and proximate result of Defendants’ constructive

fraud. VBF’s compensatory damages are millions of dollars for Defendants’ misappropriations,

in addition to millions of dollars representing the devaluation of VBF caused by Defendants’

mismanagement and other corporate waste.

       67.     Further, Defendants’ fraudulent concealment was willful and egregious, or at least

wanton, and therefore punitive damages against Defendants and in favor of VBF are warranted,

in an amount to be determined at trial.




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       WHEREFORE, the Plaintiff, VeroBlue Farms USA, Inc., respectfully requests that this

Court enter judgment in its favor and against the Defendants, Leslie A. Wulf, Bruce A. Hall,

James Rea, John E. (“Ted”) Rea, and Keith Driver, jointly and severally, in an amount in excess

of $75,000, but to be determined at trial, as compensatory damages for misappropriations, plus

compensatory damages representing the devaluation of Plaintiff due to Defendants’

mismanagement and other waste of corporate assets, plus punitive damages, costs, allowable pre-

judgment interest, the imposition of a constructive trust, and other relief deemed just.

                     COUNT V-CIVIL CONSPIRACY-ALL DEFENDANTS

       68.     VBF adopts and reincorporates paragraphs 1 through 67.

       69.     From the outset of their misconduct alleged herein, Defendants had a meeting of

the minds and agreed to engage in the breaches of fiduciary duties and fraud alleged herein, for

their personal benefit, to cause harm to VBF, while concealing the same from VBF and its

shareholders (the “Conspiracy”).

       70.     Defendants’ aim, through the Conspiracy, was to accomplish the unlawful

objective of personally benefiting Defendants at the expense of VBF, while concealing the same

from VBF, and/or making fraudulent misrepresentations to VBF and its shareholders in the face

of Defendants’ duties of disclosure.

       71.     Through the Conspiracy, the Defendants facilitated and accomplished their

breaches of fiduciary duty, fraudulent concealment, constructive fraud, and fraudulent

misrepresentation.

       72.     VBF suffered injuries as a direct and proximate result of Defendants’ Conspiracy.

VBF’s compensatory damages are millions of dollars for Defendants’ misappropriations, in




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addition to millions of dollars representing the devaluation of VBF caused by Defendants’

mismanagement and other corporate waste.

       73.     Further, Defendants’ misconduct was willful and egregious, or at least wanton,

and therefore punitive damages against Defendants and in favor of VBF are warranted, in an

amount to be determined at trial.

       WHEREFORE, the Plaintiff, VeroBlue Farms USA, Inc., respectfully requests that this

Court enter judgment in its favor and against the Defendants, Leslie A. Wulf, Bruce A. Hall,

James Rea, John E. (“Ted”) Rea, and Keith Driver, jointly and severally, in an amount in excess

of $75,000, but to be determined at trial, as compensatory damages for misappropriations, plus

compensatory damages representing the devaluation of Plaintiff due to Defendants’

mismanagement and other waste of corporate assets, plus punitive damages, costs, allowable pre-

judgment interest, the imposition of a constructive trust, and other relief deemed just.

                COUNT VI-AIDING AND ABETTING-ALL DEFENDANTS

       74.     VBF adopts and reincorporates paragraphs 1 through 73.

       75.     From the outset of their misconduct alleged herein, Defendants knowingly and

substantially assisted each other in their breaches of fiduciary duties alleged herein, for their

personal benefit, while concealing the same from VBF and its shareholders.

       76.     VBF suffered injuries as a direct and proximate result of Defendants’ aiding and

abetting. VBF’s compensatory damages are millions of dollars for Defendants’

misappropriations, in addition to millions of dollars representing the devaluation of VBF caused

by Defendants’ mismanagement and other corporate waste.




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       77.     Further, Defendants’ misconduct was willful and egregious, or at least wanton,

and therefore punitive damages against Defendants and in favor of VBF are warranted, in an

amount to be determined at trial.

       WHEREFORE, the Plaintiff, VeroBlue Farms USA, Inc., respectfully requests that this

Court enter judgment in its favor and against the Defendants, Leslie A. Wulf, Bruce A. Hall,

James Rea, John E. (“Ted”) Rea, and Keith Driver, jointly and severally, in an amount in excess

of $75,000, but to be determined at trial, as compensatory damages for misappropriations, plus

compensatory damages representing the devaluation of Plaintiff due to Defendants’

mismanagement and other waste of corporate assets, plus punitive damages, costs, allowable pre-

judgment interest, the imposition of a constructive trust, and other relief deemed just.

                    COUNT VII-UNJUST ENRICHMENT-ALL DEFENDANTS

       78.      Plaintiffs adopt and reincorporate paragraphs 1 through 77.

       79.     VBF has conferred millions of dollars’ worth of benefit upon Defendants for

which Defendants have not compensated VBF. It would be unjust and contrary to principles of

equity and good conscience to allow Defendants to retain this benefit conferred upon them by

VBF without just consideration as Defendants have been unjustly enriched at VBF’s expense.

       WHEREFORE, the Plaintiff, VeroBlue Farms USA, Inc., respectfully requests that this

Court enter judgment in its favor and against the Defendants, Leslie A. Wulf, Bruce A. Hall,

James Rea, John E. (“Ted”) Rea, and Keith Driver, jointly and severally, in an amount in excess

of $75,000, but to be determined at trial, plus costs, allowable pre-judgment interest, the

imposition of a constructive trust, and other relief deemed just.

                 COUNT VIII-EQUITABLE ACCOUNTING-ALL DEFENDANTS

       80.      Plaintiffs adopt and reincorporate paragraphs 1 through 79.




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       81.     As a result of Defendants’ fiduciary duties to account to VBF, breaches of

fiduciary duties, fraud, and unjust enrichment, as well as the existence of complex mutual

accounts and the need for discovery, VBF is entitled to an order requiring Defendants to account

for every dollar deposited, received, or otherwise transferred to or from VBF or any of its

affiliates and Defendants from on or before October 1, 2014 through January 2018, and entering

a judgment against Defendants as to any amounts for which Defendants cannot account, or

which are shown by the accounting to have been misappropriated by Defendants.

       82.     Pleading in the alternative, money damages are inadequate to VBF because VBF

cannot fully learn the extent of Defendants’ misconduct, of which Defendants’ have superior

knowledge, without an accounting.

       WHEREFORE, the Plaintiff, VeroBlue Farms USA, Inc., respectfully requests that this

Court enter judgment in its favor and against the Defendants, Leslie A. Wulf, Bruce A. Hall,

James Rea, John E. (“Ted”) Rea, and Keith Driver, jointly and severally, requiring Defendants to

produce an equitable accounting detailing every dollar deposited, received, or otherwise

transferred to or from VBF or any of its affiliates and Defendants from on or before October 1,

2014 through January 31, 2018, and entering a judgment against Defendants as to any amounts

for which Defendants cannot account, or which are shown by the accounting to have been

misappropriated by Defendants, plus costs, allowable pre-judgment interest, and other relief

deemed just.

                 COUNT IX-DECLARATORY JUDGMENT-ALL DEFENDANTS

       83.     Plaintiffs adopt and reincorporate paragraphs 1 through 82.

       84.     VBF disputes the validity of any and all transactions wherein Defendants

personally benefitted, or which were otherwise improper, including the funds and other assets




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that were misappropriated, and the stock that was transferred to Sedun and BAJJER for grossly

inadequate consideration.

       85.     Pursuant to 22 U.S.C. § 2201, there is an actual controversy between VBF, on the

one hand, and Defendants on the other hand, as to such transactions, wherein VBF asserts that all

such transactions should be declared null and void ab initio, whereas Defendants presumably

seek to uphold these transactions.

       WHEREFORE, VeroBlue Farms USA, Inc., respectfully requests that this Court enter a

declaratory judgment in its favor and against the Defendants, Leslie A. Wulf, Bruce A. Hall,

James Rea, John E. (“Ted”) Rea, and Keith Driver, plus costs, allowable pre-judgment interest,

and other relief deemed just.

Dated: August 15, 2018

                                            JURY TRIAL DEMANDED


                                            /s/ Matthew E. Laughlin     _________________
                                            Matthew E. Laughlin AT0004515
                                            Holly M. Logan AT0004710
                                            Katelynn T. McCollough AT0013443
                                            DAVIS, BROWN, KOEHN, SHORS
                                              & ROBERTS, P.C.
                                            215 10th Street, Suite 1300
                                            Des Moines, IA 50309
                                            Telephone: 515-288-2500
                                            Email: MattLaughlin@davisbrownlaw.com
                                                    HollyLogan@davisbrownlaw.com
                                                    KatelynnMccollough@davisbrownlaw.com

                                            ATTORNEYS FOR PLAINTIFF




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                                                                                             EXHIBIT




                                                                                                                            exhibitsticker.com
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                                                                                                 A




TO:                VEROBLUE FARMS INC.

                   and to the directors thereof




The undersigned hereby subscribes for and agrees to take up 1,250,000 common

shares in the capital of VeroBlue Farms Inc. and tenders herewith the sum of $1.25 in

full payment of the subscription price for such shares.



The undersigned hereby requests that the said shares be allotted to the undersigned or

to such persons as the undersigned may in writing direct, that such shares be issued as

fully paid and non-assessable and that a certificate or certificates representing such

shares be issued in the name of the undersigned or as the undersigned may, in writing,

direct.



                   DATED as of the 18th day of September, 2014.




                                                  BAJJER, LLC




                                                  Per:
                                                          Authorized Signing Officer

                                                  I have authority to bind the corporation




                                                                                        EXHIBIT
                                                                                                       exhibitsticker.com




                                                                                             3
Legal*12486091.3
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TO:                VEROBLUE FARMS INC.
                   (the Corporation)

                   and to the directors thereof.




The undersigned, the Chief Executive Officer of the Corporation, hereby certifies that

the Corporation has duly received from Bajjer, LLC (the "Shareholder") the sum of

$1.25 pursuant to a subscription of shares dated as of the date hereof, which $1.25 is

the consideration for the issuance by the Corporation of 1,250,000 common shares in

the capital of the Corporation to the Shareholder as contemplated in a resolution passed

by the board of directors of the Corporation today.



                   DATED as of the 18th day of September, 2014.




                                                   Leslie Wulf




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                                                                                   APP0023
                                                                         EXHIBIT




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                                                                                 B




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Closing Disclosure
Closing Information                                         Transaction Information
Date Issued                                                 Borrower Joella M. Grossoehme
Closing Date            5-25-18                                          10603 Hinterland Dr.
Disbursement Date       5-25-18                                          Fishers, IN 46038
Settlement Agent        Ryan J. Mahoney                     Seller       Iowa’s First, Inc.
File #                  4112.000                                         401 Des Moines St.
Property                1507 Willson Ave.                                Webster City, IA 50595
                        Webster City, IA 50595
Sale Price              232,000




Summaries of Transactions                                                              Contact Information
SELLER’S TRANSACTION                                                                   REAL ESTATE BROKER (B)
M. Due to Seller at Closing                                          $232,000.00
                                                                                       Name                                Abens Realty
01 Sale Price of Property                                            $232,000.00
                                                                                       Address                             1988 Superior St.
02 Sale Price of Any Personal Property Included in Sale
03                                                                                                                         Webster City, IA 50595
04                                                                                     __License ID                        F05703000
05                                                                                     Contact                             Tyler Abens
06
                                                                                       Contact __License ID                B43670000
07
                                                                                       Email
08
Adjustments for Items Paid by Seller in Advance                                        Phone                               515-297-0755
09 City/Town Taxes                       to                              $ 0.00        REAL ESTATE BROKER (S)
10 County Taxes                          to                              $ 0.00        Name                                Neighborhood Realty
11 Assessments                           to                              $ 0.00
                                                                                       Address                             711 2nd St.
12                                       to                              $ 0.00
13                                                                                                                         Webster City, IA 50595
14                                                                                     __License ID                        T05081000
15                                                                                     Contact                             Stacy Wearda
16
                                                                                       Contact __License ID                B44605000
N. Due from Seller at Closing                                        $189,185.31
01 Excess Deposit
                                                                                       Email
02 Closing Costs Paid at Closing (J)                                  $15,019.90       Phone
03 Existing Loan(s) Assumed or Taken Subject to                                        SETTLEMENT AGENT
04 Payoff of First Mortgage Loan to First State Bank                  165,152.79       Name                                Ryan J. Mahoney
05 Payoff of Second Mortgage Loan to Broadmoor Financial                4,757.19
                                                                                       Address                             615 Story St.
06 Mortgage Payoff fee to USPS                                             24.70
07 Recording Fee for Release                                               10.00
                                                                                                                           Boone, IA 50036
08 Seller Credit                                                         $ 0.00        __License ID                        ITG3731
09                                                                                     Contact                             Ryan J. Mahoney
10                                                                                     Contact __License ID                AT4948
11
                                                                                       Email                               ryan@jordanmahoney.com
12
13                                                                                     Phone                               515-432-4510
Adjustments for Items Unpaid by Seller
14 City/Town Taxes                       to                             $ 0.00
15 County Taxes               7-1-17     to       5-25-18               4220.73
16 Assessments                           to                             $ 0.00                        Questions? If you have questions about the



                                                                                         ?
17                                       to                             $ 0.00                        loan terms or costs on this form, use the contact
18                                                                                                    information below. To get more information
19                                                                                                    or make a complaint, contact the Consumer
                                                                                                      Financial Protection Bureau at
CALCULATION
                                                                                                      www.consumerfinance.gov/mortgage-closing
Total Due to Seller at Closing (M)                                 $232,000.00
Total Due from Seller at Closing (N)                             ($189,185.31)
Cash         From X To Seller                                         $42,814.69




CLOSING DISCLOSURE     Case 3:18-cv-03047-CJW Document 9-2 Filed 08/15/18       Page
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                                                                                                                                           APP0026
                                                                                                                                            © ThorpeForms.com
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Closing Cost Details
                                                                                                      Seller-Paid
Loan Costs                                                                               At Closing            Before Closing
A.   Origination Charges
01   .147% of Loan Amount (Points)
02   Processing fee
03
04
05
06
07
08
B.   Services Borrower Did Not Shop For
01   Appraisal Fee
02   Credit Report Fee
03   Flood Certification fee
04   UP front MIP
05
06
07
08
09
10
C.   Services Borrower Did Shop For
01   Abstracting to Hamilton County Abstracting Services                                         320.00
02   Courier Fees to USPS
03   Lender’s insurance to Iowa Title Guaranty
04   Settlement fee to Jordan & Mahoney Law Firm, P.C.
05   Title Examination to Jordan & Mahoney Law Firm, P.C.
06
07
08



Other Costs
E.   Taxes and Other Government Fees
01   Recording Fees                  Deed: 17.00            Mortgage:     82.00
02   Transfer Tax     to: Hamilton County Recorder                                               370.40
F.   Prepaids
01   Homeowner’s Insurance Premium ( mo.) to:
02   Mortgage Insurance Premium ( mo.) to:
03   Prepaid Interest                  per day from                  to
04   Property Taxes ( mo.) to:
05
G.   Initial Escrow Payment at Closing
01   Homeowner’s Insurance                        per month for              mo.
02   Mortgage Insurance                           per month for              mo.
03   Property Taxes                               per month for              mo.
04                                                per month for              mo.
05                                                per month for              mo.
06                                                per month for              mo.
07
08   Aggregate Adjustment
H.   Other
01   Real Estate Commission              6960.00 to: Neighborhood Realty                      $6,960.00
02   Real Estate Commission              6960.00 to: Abens Realty                             $6,960.00
03
04   Deed Prep to Malloy Law Firm, LLP                                                           409.50
05   Attorney Fees for POA preparation
06   Recording Fees for Power of Attorney to Hamilton Co. Recorder
07
08
09
10
11



J. TOTAL CLOSING CLOSTS                                                                      $15,019.90                   $ 0.00




CLOSING DISCLOSURE    Case 3:18-cv-03047-CJW Document 9-2 Filed 08/15/18       Page
                                                                PAGE 2 OF 2 ● LOAN ID # 4 of 5
                                                                                                                    APP0027
                                                                                                                     © ThorpeForms.com
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                                                                  CERTIFICATION
I have carefully reviewed this Closing Disclosure and to the best of my knowledge and belief, it is a true and accurate statement of all receipts and
disbursements made on my account or by me in this transaction. I further certify that I have received a copy of the Closing Disclosure form.



                                                             Seller
                        Iowa’s First, Inc.




To the best of my knowledge the Closing Disclosure which I have prepared is true and accurate account of the funds which were received and
have been or will be disbursed by the undersigned as part of the settlement of this transaction.


                                                      Settlement Agent                                                      Date
                    Ryan J. Mahoney

WARNING: It is a crime to knowingly make false statements to the United States on this or any other similar form. Penalties upon conviction can
include a fine and imprisonment. For details see: Title 18 U.S. Code Section 1001 and Section 1010.




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                                                                                                                                     APP0028
                                                                                                                                      © ThorpeForms.com
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                                                                         318




                                                                                  exhibitsticker.com
                                                                            C




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                                          CLOSING STATEMENT

SELLER:                             Iowa’s First, Inc.

BUYER:                              John A. Ruppel

LEGAL DESCRIPTION:                  Auditor’s Parcel Letter “A of Lot 1”, Southeast Development Park
                                    #4 in Webster City, Iowa, per Survey Cabinet Slide 118A, page 10
                                    filed on September 9, 2009.

CLOSING DATE:                       April 13, 2018




Purchase Price                                                                       $     135,000.00

Less earnest money (held in Davis Brown Law Firm Trust Account)                      -      10,000.00

Less prorated real estate taxes covering period 07/01/17 through
        04/12/18 ($8,550 [full year] x 286 days ÷ 365 days)                          -       6,699.45

Plus deed recording                                                                 +           15.00

Balance due at closing (payable to and held in Johnson Law Firm Trust Account)       $     118,315.55




Total amount held in Johnson Law Firm Trust Account                                      $ 118,315.55

Less expenses:

        Johnson Law Firm (e-record) – revenue stamps                                 -        215.20
        Johnson Law Firm (e-record) – deed recording fee                             -         15.00
        Johnson Law Firm (e-record) – partial mortgage release recording fee         -         15.00
        Hamilton County Abstracting Services, Inc. – abstracting                    -         P.O.C.
        Davis Brown Law Firm – Seller’s legal fees                                  -         P.O.C.

Net proceeds to Davis Brown Law Firm Trust Account                                       $ 118,070.35


Note: Johnson Law Firm to prepare 1099.




Agreed to:

         “SELLER”                                                       “BUYER”

Iowa’s First, Inc.

By_________________________________                      ____________________________________
                                                         John A. Ruppel



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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION

VEROBLUE FARMS USA, INC.,                           §
                                                    §
         Plaintiff,                                 §
                                                    §
v.                                                  §
                                                    §       CIVIL ACTION NO. 18-CV-3047
LESLIE A. WULF, BRUCE A. HALL,                      §
JAMES REA, JOHN E. REA, and KEITH                   §
DRIVER                                              §
                                                    §
         Defendants.

        DECLARATION OF DEFENDANT KEITH DRIVER IN SUPPORT OF 12(b)(6)
             MOTION TO DISMISS AND MOTION TO TRANSFER VENUE

          Pursuant to 28 U.S.C. § 1746, I, Keith Driver, hereby state and declare as follows:

          1.      “My name is Keith Driver. I am over eighteen (18) years of age and have never

 been convicted of a felony. I have personal knowledge of the facts set forth herein, and am

 otherwise competent to testify to the facts stated in this Declaration. I have personal knowledge

 of the facts set forth below and could and would testify competently to them if called upon to do

 so.

          2.      I performed services for VeroBlue Farms USA, Inc. (“VeroBlue”) as a designated

 representative of Seven Hours Holding Company, Inc., an independent contractor of VeroBlue’s.

 On July 1, 2016, VeroBlue and I entered into an Employment Agreement, which terminated my

 role as an independent contractor and put me into the position of Chief Operating Officer of

 VeroBlue. A true and correct copy of the Employment Agreement is attached hereto as Exhibit 1.

 The primary focus of this position was the day-to-day operations of the production facilities for

 the company.




 DECLARATION OF KEITH DRIVER                                                                    PAGE 1

                                                                                                APP0031
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       3.      On January 13, 2017, VeroBlue and Driver entered into a Business Relationship

Restructuring Agreement (the “Release Agreement”), which terminated Driver’s Employment

Agreement with Plaintiff and re-established his consulting relationship with the company. A true

and correct copy of the Release Agreement is attached hereto as Exhibit 2. My sole duties during

this period were to answer any questions relating to events during my period as an employee. I

was only an employee of VeroBlue for six months.

       4.      After January 13, 2017, I had no involvement with the management decisions of

VeroBlue.

       5.      As of January 13, 2017 and for years prior to that, VeroBlue’s principal place of

business was in Plano, Texas.

       6.       Leslie Wulf, Bruce Hall, James Rea, and John Rea all reside in the Northern

District of Texas.

       7.      I declare under penalty of perjury under the laws of the United States of America

and the State of Texas that the foregoing is true and correct.”

                            13th
       EXECUTED on October________, 2018, by



                                              KEITH DRIVER




DECLARATION OF KEITH DRIVER                                                              PAGE 2

                                                                                         APP0032
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                                EMPLOYMENT AGREEMENT


        This Employment Agreement (this "Agreement"), dated as of July 1, 2016 (the
"Effective Date"), is by and between Keith Driver (the "Employee"), and VeroBlue Farms USA,
Inc., a Nevada corporation (the "Company"). Employee and the Company are sometimes each
referred to herein as a "Party" and collectively, as the "Parties".

                                           RECITALS

       WHEREAS, Employee performed services for the Company as a designated
representative of Seven Hours Holding Company, Inc., an independent contractor
("Consultant") under that certain Management Services Agreement (the "MSA") among the
Company, Consultant and the Company's parent, VeroBlue Farms Inc., a corporation
incorporated under the laws of the Province of Ontario, Canada ("Parent Corporation");

      WHEREAS, the Parties desire to terminate the MSA pursuant to that certain
Termination and Payoff Agreement of even date herewith and replace it with this Agreement
whereby the Company desires to employ Employee on the terms and conditions set forth herein,
and Employee desires to accept such employment terms;

        NOW, THEREFORE, in consideration of the mutual covenants, promises and
obligations set forth herein, the Parties agree as follows:

         1.    Employment.

                (a)    Title and Duties.      The Company hereby employs Employee, and
Employee hereby accepts such employment, to serve as Chief Operating Officer of the
Company. Subject to the provisions of this Agreement, the Company and Employee agree that
Employee's employment constitutes "at-will" employment. Employee's duties, responsibilities
and authority shall be consistent with Employee's position and title at the Company and shall
include such other duties, responsibilities and authority as may be assigned to Employee by the
Board of Directors of the Company (the "Boartf'). Employee shall report to the Chief Executive
Officer of the Company.

                (b)    Services and Exclusivity of Services. Employee shall devote Employee's
full business time and shall use Employee's best efforts, energy and ability exclusively toward
advancing the business, affairs and interests of the Company, and matters related thereto.
Employee will not engage in any other business, profession or occupation for compensation or
otherwise which would conflict or interfere with the performance of such services either directly
or indirectly without the prior written consent of the Board. Except as prohibited by Section 4,
nothing in this Agreement shall preclude Employee from serving or participating on a board of
or in trade organizations, charitable, community, school or religious activities or participating in
other business endeavors, so long as such activities do not interfere with his duties and
responsibilities hereunder or conflict with the interests of the Company.

             (c)   Location of Office. The Company shall make available to Employee an
office and support services in Dallas, Texas, or at another location pursuant to the


                                                                                            4133982.8
16603225v.1
                                                                                               APP0033
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recommendation of the Chief Executive Officer and the Board. Employee's main office shall be
at such location; provided, however, that Employee will travel from time to time as business
needs arise.

        2.      Term. The term of this Agreement shall commence on the Effective Date and
shall continue indefinitely until terminated pursuant to Section 5 below (the "Term").

         3.    Compensation.

                (a)    Base Salary. During the Term, the Company will pay to Employee a base
salary at the rate of $325,000 per year, payable in accordance with the Company's practices in
effect from time to time ("Base Salary"). Amounts payable shall be reduced by standard
withholdings and other authorized deductions. Such Base Salary shall be reviewed during the
Term for adjustment in the sole discretion of the Board, or such individual, group or committee
that the Board may select as its delegate, not less frequently than annually during the Term;
provided that no decrease may be made to Base Salary unless a corresponding percentage
decrease in base salary is being made to all similarly situated employees of the Company. In
conducting any such review, the Board or such delegate shall consider and take into account,
among other things, any change in Employee's responsibilities, performance of Employee, the
compensation of other similarly situated employees of comparable companies and other pertinent
factors.

              (b)     Car Allowance. Employer will pay Employee a car allowance of $1,500
per calendar month, payable on the first day of each month.

                 (c)     Bonuses, Savings and Retirement Plans; Benefit Plans. Employee shall be
entitled to participate in all annual and long-term bonuses, savings and retirement plans generally
available to other similarly situated employees of the Company. The decision to provide any
bonus and the amount and terms of any bonus shall be in the sole and absolute discretion of the
Board. Employee, and Employee's family as the case may be, and to the extent Employee and
such family member are eligible, may participate in and receive all benefits under health benefit
plans, practices, programs and policies provided to employees of the Company. The Company
reserves the right to modify, suspend or discontinue any and all of its benefits referred to in this
Section 3(b) at any time in its sole discretion without recourse by Employee so long as such
action is taken generally with respect to other employees and does not single out Employee.

               (d)   Reimbursement of Expenses. The Company shall promptly reimburse
Employee for any reasonable and necessary out-of-pocket expenses incurred by him in
co1mection with the performance of Employee's duties hereunder, provided that Employee
furnishes to the Company in a timely manner appropriate documentation in accordance with the
Company's expense reimbursement policies and procedures and such other reasonable
documentation and accounting as the Company, from time to time, may reasonably request.

               (e)   Vacation. Employee shall provide services for 48 out of every 52 week
period during the Tem1 (e.g., the equivalent of four (4) weeks of paid vacation).




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         4.     Representations; Confidential Information; Non-Competition; Non-Solicitation.

                (a)     Representations. In order to induce the Company to enter into this
 Agreement, Employee represents and warrants to the Company that neither the execution nor the
 perf01mance of this Agreement by Employee will violate or conflict in any way with any other
 agreement by which Employee may be bound, or with any other duties imposed upon Employee
 by corporate or other statutory or common law.

                (b)      Confidentiality. Employee acknowledges that during his employment and
as a result of his past, present and future relationship with the Company, Employee has obtained
and will obtain knowledge of, and has been given and will be given access to, information
concerning the Company and Parent Corporation and their respective affiliates, including, but
not limited to, information regarding the business, operations, services, proposed services,
business processes, business and marketing strategies, advertising, marketing and promotional
plans and materials, pricing strategies and policies, financial information, stockholders and other
trade secrets, confidential information and proprietary material of the Company, including
information and material originated, discovered or developed in whole or in part by Employee
(collectively referred to herein as "Confidential Informatio11"). The term "Confidential
I11/ormatio11" does not include any information which (i) at the time of disclosure is generally
available to the public (other than as a result of a disclosure by Employee in breach of this
Agreement), or (ii) was available to Employee on a non-confidential basis from a source (other
than the Company or its representatives) that is not and was not prohibited from disclosing such
information to Employee by a contractual, legal or fiduciary obligation. Employee agrees that
during the Term and, to the fullest extent permitted by law, thereafter, Employee will, in a
fiduciary capacity for the benefit of the Company, hold all Confidential Information strictly in
confidence and will not directly or indirectly reveal, report, disclose, publish or transfer any of
such Confidential Information to any person or entity, or utilize any of the Confidential
Information for any purpose, except in furtherance of Employee's employment under this
Agreement and except to the extent that Employee may be required by law to disclose any
Confidential Information. Employee acknowledges that the Company is providing Employee
additional Confidential Information that Employee was not given prior to execution of this
Agreement, as further consideration to Employee for executing this Agreement, including the
promises and covenants made by Employee in this Section 4.

                (c)     Non-Competition and Non-Solicitation. In fmiher consideration of the
compensation to be paid to Employee hereunder, Employee acknowledges that during the course
of his employment and prior service with the Company, he has, and will, become familiar with
the trade secrets of the Company and with other Confidential Information concerning the
Company and that his services have been and shall continue to be of special, unique and
extraordinary value to the Company. Therefore, Employee agrees that, during Employee's
employment herem1der and for one year after the date of termination of employment (the
"Restricted Period''), he shall not directly or indirectly: (i) own any interest in, manage, control,
participate in, consult with, render services for, be employed in an executive, managerial or
administrative capacity by, or in any manner engage in, any Competing Business (as defined
below); (ii) solicit, request or induce any employee, consultant or agent of the Company or
Parent Corporation or any of their respective affiliates to terminate his or her employment or
relationship with such company, nor hire any employee, or consultant of the Company or Parent

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              the Company, or any of its customers or suppliers; (ii) a breach of this Agreement
              by Employee and/or Employee's gross neglect of Employee's duties hereunder
              which is not cured to the Board's reasonable satisfaction within fifteen (15) days
              after notice thereof is given to Employee by the Board; and (iii) damage to or
              misappropriation or conversion of any funds or assets of the Company.

                      (iii)  "Non-Egregious Cause" shall mean (i) engaging in conduct
              bringing the Company into public disgrace or disrepute or causing economic
              harm; (ii) material or repeated failure to perform Employee's duties as directed by
              the Board following notice of such breach and failure to cure such breach within
              fifteen (15) days of such notice; and (iii) Employee's failure to follow the
              Company's policies or applicable law in connection with the performance of
              Employee's duties, and such failure is not cured by Employee within fifteen (15)
              days following Employee's receipt of written notice from the Company
              specifying such failure.

                       (iv)   "Cause" shall mean either Egregious Cause or Non-Egregious
              Cause.

                     (v)     "Voluntary Termination" shall mean a termination of employment
              by Employee on Employee's own initiative other than (i) a termination due to
              death or Disability or (ii) a termination for Good Reason (as defined below).

                 (d)     Termination by the Company without Cause or by Employee for Good
Reason. The Company may terminate Employee's employment hereunder without Cause and
Employee shall be permitted to terminate Employee's employment hereunder for Good Reason
(as hereinafter defined) prior to the end of the Term. If the Company tenninates Employee's
employment hereunder without Cause, other than due to death or Disability, or if Employee
effects a termination for Good Reason, Employee shall be entitled to receive the payments and
benefits set forth in this Section 5(d).

                      (i)    So long as Employee has not breached any of the terms contained
              in Section 4, Employee shall be entitled to each of the following:

                              (A)   Employee's Accrued Employment Entitlements;

                              (B)   Except as otherwise modified pursuant to Section 4(c),
                                    Employee's annual Base Salary in effect as of the date of
                                    such termination, payable in accordance with the
                                    Company's normal payroll practices for a period of one (1)
                                    year ("Severance Term") following such termination; and

                              (C)   the actual bonus, if any, he would have received in respect
                                    of the fiscal year in which his termination occurs, prorated
                                    by a fraction, the numerator of which is the number of days
                                    in such fiscal year prior to the date of Employee's
                                    termination and the denominator of which is 365, payable
                                    at the same time as any such bonus payments are made to

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 Corporation or any of their respective affiliates, or (iii) solicit, request, or induce or attempt to
 solicit, request, or induce or attempt to induce any customer, supplier, licensee or other business
 relation of the Company or Parent Corporation or any of their respective affiliates to cease doing
 business with, or modify its business relationship with the Company or Parent Corporation or
any of their respective affiliates, or in any way interfere with or hinder the relationship between
any such customer, supplier, licensee or business relation and the Company or Parent
Corporation or any of their respective affiliates, as applicable; provided that with respect to this
Section 4(c), the Company shall have the option, but not the obligation, in its sole discretion, to
extend the Restricted Period from a period of one (1) year to a period of two (2) years from the
date of Employee's termination by agreeing in writing within one (1) month of such termination
to extend the Severance Term provided in Section 5(d)(i)(B) from (1) year to two (2) years from
the date following termination. For purposes hereof, "Competing Business" means a business
that competes with the Company or Parent Corporation, or any of their respective affiliates in
any geographic territory in which the Company, Parent Corporation, or any such affiliate
conducts, sells or markets its business or plans to conduct, sell or market its business. Nothing
herein shall prohibit Employee from being a passive owner of not more than five percent (5%) of
the outstanding stock of any class of a corporation that is publicly traded, so long as Employee
has no active participation in the business of such corporation.

                 (d)    Proprietary Interest. All correspondence, communications (electronic or
 otherwise), data, reports, software, systems, databases, methodology, processes, programs,
 templates, procedures, know-how, inventions, discoveries, creations, designs, improvements,
 patents, copyrights, discoveries or ideas which Employee conceives, develops, or produces
 (whether before the Effective Date during his past services, as part of his employment
 obligations and/or duties, solely or jointly with others, or otherwise), which relate to the business
 of the Company (collectively, the "Work Product"), including trade secrets, data, methodology,
 processes, programs, templates, and information concerning proprietary technology developed
 for the business, or for any interests of the Company, shall belong solely and exclusively to the
Company, together with any intellectual property rights associated with such Work Product (the
"IP Rights"). Employee acknowledges that all original works of authorship which are made by
Employee (solely or jointly with others) during his prior services or within the scope of his
employment with the Company and which are protectable by copyright laws are "works made
for hire,'' pursuant to the United States Copyright Act (17 U.S.C., Section 101), and that such
works made for hire shall constitute part of the IP Rights. Employee shall assist the Company or
its designees to obtain, and from time to time enforce, United States and foreign IP Rights in any
and all countries. To that end, Employee shall execute, verify, and deliver such documents and
perform such other acts (including appearing as a witness) as the Company may reasonably
request for use in applying for, obtaining, perfecting, evidencing, sustaining and enforcing such
IP Rights and the assignment thereof. In addition, Employee will execute, verify, and deliver
assignments of such IP Rights to the Company or its designee. Employee's obligation to assist
the Company with respect to IP Rights shall continue beyond Employee's employment with the
Company. Employee hereby waives and quitclaims to the Company any and all claims, of any
nature whatsoever, which Employee now or may hereafter have for infringement of any IP
Rights assigned hereunder to the Company.

               (e)    Return of Materials. Employee expressly acknowledges that all physical
property, data, books, records and other Confidential Information of the Company obtained in

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connection with the Company's business is the exclusive property of the Company and that upon
the termination of Employee's employment by the Company, Employee will immediately
surrender and return to the Company all such items and all other property belonging to the
Company then in the possession of Employee, and Employee shall not make or retain any copies
thereof.

               (f)      Property of the Company. Employee acknowledges that from time to time
in the course of providing past services and future services pursuant to this Agreement,
Employee shall have had and will have the opportunity to inspect and use certain property, both
tangible and intangible, of the Company and Employee hereby agrees that such property shall
remain the exclusive property of the Company. Employee shall have no right or proprietary
interest in such property, whether tangible or intangible.

              (g)     Reasonable in Scope and Duration; Consideration. Employee agrees and
acknowledges that   the restrictions contained in this Section 4 are reasonable in scope and
duration and are necessary to protect the business interests and Confidential Information of the
Company after the Effective Date, and Employee further agrees and acknowledges that he has
reviewed the provisions of this Agreement with his legal counsel. Employee acknowledges and
agrees that Employee will receive substantial, valuable consideration from the Company for the
covenants contained in this Section 4, including without limitation, compensation and other
benefits.

               (h)    Non-Disparagement. Following separation of employment:

                       (i)     Employee agrees not to make to any person, including but not
               limited to customers of the Company, any statement that disparages the Company,
               Parent Corporation and its stockholders, or the Company's affiliates, or which
               reflects negatively upon the Company, Parent Corporation and its stockholders or
               the Company's affiliates, including but not limited to statements regarding the
               Company's or Parent Corporation's financial condition, its officers, managers,
               stockholders, employees and affiliates; and

                      (ii)  The Company agrees not to make to any person any statement that
               disparages Employee, or which reflects negatively upon Employee.

                (i)     Enforcement. If, at the time of enforcement of Section 4 of this
Agreement, a court holds that the restrictions stated herein are unreasonable under circumstances
then existing, the Parties hereto agree that the maximum duration, scope or geographical area
reasonable under such circumstances shall be substituted for the stated period, scope or area and
that the court shall be allowed to revise the restrictions contained herein to cover the maximum
duration, scope and area permitted by law.

               G)     Extension of Restricted Periods. In addition to the remedies the Company
may seek and obtain pursuant to this Agreement, the applicable restricted periods set forth herein
shall be extended by any and all periods during which Employee shall be found by a court of
competent jurisdiction to have been in violation of the covenants contained herein.



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         5.    Termination.

               (a)   Termination Prior to Expiration of Te1m. Notwithstanding anything to the
contrary contained in Section 2, Employee's employment may be terminated prior to the
expiration of the Tenn only as provided in this Section 5. Employee's employment with the
Company shall cease effective on such termination date, and except as provided in this Section 5,
the Company shall have no further obligations to Employee.

              (b)     Death or Disability.

                      (i)     The Company may terminate Employee's employment hereunder
              due to death or Disability (as defined below). If Employee's employment
              hereunder is terminated as a result of death or Disability, Employee (or
              Employee's estate or personal representative in the event of death) shall be
              entitled to receive: (i) all Base Salary due to Employee through the date of
              termination; (ii) any previously vested benefits, such as retirement benefits and
              vacation pay, in accordance with the terms of the plan or agreement pursuant to
              which such benefits were granted to Employee; (items (i) and (ii) above
              collectively referred to as "Accrued Employment Entitlements"); and (iii) any
              benefits payable to Employee or Employee's beneficiaries, as applicable, in
              accordance with the terms of the applicable benefit plan.

                      (ii)    As used herein, "Disability" shall mean a determination by the
              Company, in its reasonable discretion, that the Employee is unable to engage in
              the customary duties and responsibilities of his position by reason of any
              medically determinable physical or mental impairment that can be expected to
              result in death or can be expected to last for a continuous period of at least six (6)
              months. Employee's Disability shall be determined by the Company, in good
              faith, based upon infonnation supplied by Employee and/or a physician mutually
              agreed upon by the Company and Employee. Employee agrees to submit to
              physical exams and diagnostic tests reasonably recommended by such physician.

             (c)     Tem1ination by the Company for Cause or by Employee because of a
Voluntary Termination.

                      (i)    Employee's employment hereunder may be terminated by the
              Company for Cause (as hereinafter defined) or, subject to Section 5(d) hereof, by
              Employee under a Voluntary Termination (as hereinafter defined). If Employee's
              employment hereunder is tenninated under this Section 5(c), Employee shall be
              entitled to receive Employee's Accrued Employment Entitlements. Except as
              specifically set forth in this Section 5(c), the Company shall have no further
              obligations to Employee following a termination for Cause, or a Voluntary
              Tem1ination.

                     (ii)     "Egregious Cause" shall mean (i) commission by Employee of a
              felony or crime involving moral turpitude, or the commission by Employee of any
              other willful act or willful omission involving dishonesty or fraud with respect to


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                                     other similarly situated active employees pursuant to the
                                     terms of the bonus plan and subject to satisfaction of the
                                     performance targets for such fiscal year; provided that, any
                                     such bonus payment shall be paid to Employee in the fiscal
                                     year following the fiscal year in which the termination of
                                     employment occurred;

                       (ii)    "Good Reason" means and shall be deemed to exist if, without the
              prior written consent of Employee, (i) Employee suffers a reduction in Base
              Salary of greater than ten percent (10%) or a material reduction in duties,
              responsibilities or effective authority associated with Employee's title and
              position as set forth and described in this Agreement or is otherwise assigned any
              duties or responsibilities inconsistent in any material respect therewith (other than
              to the extent any such reduction in Base Salary is commensurate with a reduction
              of the salaries of other senior management of the Company); provided that, the
              foregoing shall not apply to any material reduction in duties following notice
              being provided of a termination for Cause, Disability or under a Voluntary
              Tennination; (ii) the Company fails to pay Employee any amounts required to be
              paid or provided under this Agreement or is otherwise in material breach of this
              Agreement; or (iii) the office where Employee is required to report for work is
              moved more than fifty (50) miles from its current location. No termination by
              Employee shall be for "Good Reason" unless written notice of such termination
              setting forth in particular the event(s) constituting Good Reason is delivered to the
              Company within thirty (30) days following the date on which the event
              constituting Good Reason occurs and the Company fails to cure or remedy the
              event(s) identified in the notice within thirty (30) days after receipt of such notice,
              and Employee actually terminates employment within thirty (30) days following
              the end of the Company's cure period.

              (e)     Rights and Conditions Regarding Termination.

                      (i)     Any payments made to Employee pursuant to this Section 5 shall
              be in lieu of  any rights under any severance plan or policy being utilized for or
              provided to the Company's other officers and employees, if applicable.
              Reporting of and withholding on any payment under this subsection for tax
              purposes shall be at the discretion of the Company in conformance with
              applicable tax laws. If a claim is made against the Company for any additional
              tax or withholding in connection with or arising out of any payment pursuant to
              this subsection, Employee shall pay any such claim within thirty (30) days of
              being notified by the Company and agrees to indemnify the Company and hold it
              harmless against such claims, including, but not limited to, any taxes, attorneys'
              fees, penalties, and/or interest, which are or become due from the Company.

                     (ii)     Employee's receipt of any pay under this Section 5 shall be subject
              to the execution by Employee of, and terms of, a general release of claims,
              substantially in a fonn to be provided by the Company to Employee within ten
              (10) days following such termination, and the non-revocation of such release by


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               Employee pursuant to any revocation rights afforded by applicable law. The
               general release must be executed and become irrevocable no later than sixty (60)
               days following the date of such termination, otherwise Employee shall forfeit any
               and all rights to such pay.

                        (iii)  If the sixty (60)-day period described in Section 5(e)(ii) begins in
               one calendar year and ends in a second calendar year (a "Crossover 60-Day
               Period'') and if there are any payments under this Section 5 due Employee that
               are: (i) conditioned on Employee signing and not revoking a release of claims and
               (ii) otherwise due to be paid during the portion of the Crossover 60-Day Period
               that falls within the first year, then such payments will be delayed and paid in a
               lump sum during the portion of the Crossover 60-Day Period that falls within the
               second year.

                 (f)     Transfers of Equity Prior to and Following Termination of Employment.
During the term of Employee's employment hereunder, neither Employee nor any of his
affiliates shall be entitled to assign, sell, pledge, mortgage, hypothecate, encumber, dispose of or
otherwise transfer ("Transfer") any shares of common stock or other equity of the Company or
Parent Corporation owned by Employee or such affiliate (excluding any common stock or other
equity that Employee or such affiliate receives pursuant to the 2016 Stock Option Plan of the
Company) (collectively, the "Employee Equity") except by operation oflaw upon Employee's or
such affiliate's death. Following the termination of Employee's employment hereunder for any
reason, neither Employee nor any of his affiliates shall be entitled to Transfer any Employee
Equity except by operation of law upon Employee's or such affiliate's death or in accordance
with this Section 5(f):

                       (i)      At any time when the Majority Series A Holder (as defined in the
               Articles of Incorporation of the Company, as amended, including by the
               Certificate of Voting Powers, Designations, Preferences, Limitations,
               Restrictions, Relative Rights and Distinguishing Designation of Series A
               Preferred Stock of the Company) (the "Majority Series A Holder") owns less than
               fifty-one percent ( 51 %) of the aggregate common stock and preferred stock (on an
               as-converted basis) of the Company then outstanding, neither Employee nor any
               of his affiliates may Transfer any Employee Equity without (A) first providing the
               Majority Series A Holder the right of first refusal to purchase all of such
               Employee Equity for the purchase price determined in accordance with
               Section 5(f)(iii) and on other tem1s reasonably acceptable to the Majority Series A
               Holder, which right of first refusal shall be exercisable for a period of at least
               fifteen (15) business days after the Majority Series A Holder receives written
               notice of the desired transfer and the purchase price determined in accordance
               with Section 5(f)(iii); (B) if the Majority Series A Holder does not exercise such
               right of first refusal, then providing each other holder of shares of Series A
               preferred stock of the Company a secondary refusal right to purchase (on a pro
               rata basis in accordance with their respective ownership of Series A preferred
               stock of the Company or in such other proportions agreed to by such
               stockholders) all of such Employee Equity for the purchase price determined in
               accordance with Section 5(f)(iii) and on other terms no more favorable to such

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               holders of Series A preferred stock than those offered to the Majority Series A
               Holder, which secondary refusal right shall be exercisable for a period of at least
               fifteen (15) business days; and (C) if the Majority Series A Holder and the other
               holders of Series A preferred stock of the Company do not exercise their rights
               pursuant to the preceding clauses (A) and (B), then providing the Company a
              tertiary refusal right to purchase all of such Employee Equity for the purchase
              price determined in accordance with Section 5(f)(iii) and on other terms no more
              favorable to the Company than those offered to the Majority Series A Holder,
              which tertiary refusal right shall be exercisable for a period of at least fifteen ( 15)
              business days. If none of the foregoing persons exercises its refusal right in
              connection with such proposed Transfer, then for a period of ninety (90) days
              after the end of the Company's fifteen (15)-day exercise period, Employee or
              such affiliate shall be entitled to Transfer all, but not less than all, of such
              Employee Equity that was offered to the foregoing persons to any third-party
              purchaser, for a purchase price equal to or greater than the purchase price
              detennined in accordance with Section 5(f)(iii) and on other tenns no more
              favorable to such third-party purchaser than those offered to the Majority Series A
              Holder (or at any lesser purchase price or on more favorable terms, provided that
              such purchase price and more favorable terms are first offered to the Majority
              Series A Holder and, if applicable, the other holders of Series A preferred stock of
              the Company and, if applicable, the Company, in accordance with this
              Section 5Cf)(i)), subject to compliance with applicable law and subject to such
              third-party purchaser's execution of a joinder agreement to each stockholders
              agreement (or the equivalent) of the Company or Parent Corporation by which
              Employee or such transferring affiliate is bound with respect to the transferred
              Employee Equity; provided that if such Transfer is not consummated within such
              ninety (90)-day period, such Transfer shall again become subject to the refusal
              rights set forth in this Section 5(f).

                       (ii)    At any time when the Majority Series A Holder owns at least fifty-
              one percent (51 % ) of the aggregate common stock and preferred stock (on an as-
              converted basis) of the Company then outstanding, neither Employee nor any of
              his affiliates may Transfer any Employee Equity without (A) first providing the
              Company the right of first refusal to purchase all of such Employee Equity for the
              purchase price determined in accordance with Section 5(f)(iii) and on other terms
              reasonably acceptable to the Company, which right of first refusal shall be
              exercisable for a period of at least fifteen (15) business days after the Company
              receives written notice of the desired transfer and the purchase price determined
              in accordance with Section 5(f)(iii); (B) if the Company does not exercise such
              right of first refusal, then providing the Majority Series A Holder the secondary
              refusal right to purchase all of such Employee Equity for the purchase price
              determined in accordance with Section 5(f)(iii) and on other terms reasonably
              acceptable to the Majority Series A Holder, which secondary refusal right shall be
              exercisable for a period of at least fifteen (15) business days; (C) if the Company
              and the Majority Series A Holder do not exercise their rights pursuant to the
              preceding clauses (A) and (B), then providing each other holder of shares of
              Series A preferred stock of the Company a tertiary refusal right to purchase (on a

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               pro rata basis in accordance with their respective ownership of Series A preferred
               stock of the Company or in such other proportions agreed to by such
               stockholders) all of such Employee Equity for the purchase price determined in
               accordance with Section 5(0(iii) and on other terms no more favorable to such
               holders of Series A preferred stock than those offered to the Majority Series A
               Holder, which tertiary refusal right shall be exercisable for a period of at least
               fifteen (15) business days; and (D) if the Company, the Majority Series A Holder
               and the other holders of Series A preferred stock of the Company do not exercise
               their rights pursuant to the preceding clauses (A), (B) and (C), then providing the
               other stockholders of the Company a quaternary refusal right to purchase (on a
               pro rata basis in accordance with their respective ownership of common stock of
               the Company or in such other proportions agreed to by such stockholders) all of
               such Employee Equity for the purchase price determined in accordance with
               Section 5CO(iii) and on other terms no more favorable to the other stockholders
               than those offered to the Majority Series A Holder, which quaternary refusal right
               shall be exercisable for a period of at least fifteen (15) business days. If none of
              the foregoing persons exercises its refusal right in connection with such proposed
              Transfer, then for a period of ninety (90) days after the end of the fifteen (15)-day
               exercise period provided for in the preceding clause (D), Employee or such
               affiliate shall be entitled to Transfer all, but not less than all, of such Employee
               Equity that was offered to the foregoing persons to any third-party purchaser, for
              a purchase price equal to or greater than the purchase price determined in
              accordance with Section 5(0(iii) and on other terms no more favorable to such
              third-party purchaser than those offered to the Majority Series A Holder (or at any
              lesser purchase price or on more favorable terms, provided that such purchase
              price and more favorable terms are first offered to the Company and, if
              applicable, the Majority Series A Holder and, if applicable, the other holders of
              Series A preferred stock of the Company and, if applicable, the other stockholders
              of the Company, in accordance with this Section 5(0(ii)), subject to compliance
              with applicable law and subject to such third-party purchaser's executing a
              joinder agreement to each stockholders agreement (or the equivalent) of the
              Company or Parent Corporation by which Employee or such transferring affiliate
              is bound with respect to the transferred Employee Equity; provided that if such
              Transfer is not consummated within such ninety (90)-day period, such Transfer
              shall again become subject to the refusal rights set forth in this Section 5(0.

                      (iii)  The purchase price at which Employee or his affiliate shall first
              offer to sell any Employee Equity to the Majority Series A Holder, other
              stockholders of the Company or the Company, as applicable, pursuant to this
              Section 5(0 shall be determined as follows: (A) if Employee's employment
              hereunder was terminated for Egregious Cause, such purchase price shall be an
              amount determined by the Board, which shall be no less than the cost-basis for
              such Employee Equity and no more than the Fair Market Value (as defined
              below) of such Employee Equity, less in either case all applicable withholding
              taxes; and (B) if Employee's employment hereunder was terminated for any
              reason other than for Egregious Cause, such purchase price shall be an amount
              equal to the Fair Market Value of such Employee Equity, less all applicable

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              withholding taxes. "Fair Market Value" means as of any date, the value of the
              Employee Equity determined as follows: (x) If the Employee Equity is listed on
              any established stock exchange, the Fair Market Value of a share of common
              stock shall be the closing sales price for such stock as quoted on such exchange
              (or the exchange with the greatest volume of trading in the common stock) on the
              last market trading day prior to the day of determination, as reported in The Wall
              Street Journal or such other source as the Board deems reliable, or (y) in the
              absence of such markets for the Employee Equity, the Fair Market Value shall be
              determined in good faith by the Board in accordance with Section 409A and the
              regulations and other guidance promulgated thereunder.

                      (iv)   Employee acknowledges and agrees that any purchaser of
               Employee Equity pursuant to this Section 5(f) shall be entitled to pay and/or
               withhold from the applicable purchase price therefor, any amount with respect to
              taxes that such purchaser (in its sole discretion) determines is required to be paid
              or withheld or advisable to pay or withhold under applicable law, and any amount
              so paid or withheld shall be treated for purposes of this Section 5(f) as an amount
              paid to Employee or its affiliate, as applicable, with respect to the purchased
              Employee Equity purchased. EMPLOYEE FURTHER ACKNOWLEDGES
              AND AGREES THAT HE SHALL BE SOLELY RESPONSIBLE AND
              LIABLE FOR ANY TAXES AND TAX CONSEQUENCES WITH
              RESPECT TO THE OWNERSHIP OR DISPOSITION BY EMPLOYEE OF
              ANY EMPLOYEE EQUITY AND WITH RESPECT TO THE
              PROVISIONS OF THIS SECTION S(F) AND THE TRANSACTIONS
              CONTEMPLATED HEREBY.                     NEITHER THE COMPANY NOR
              PARENT CORPORATION NOR ANY OF THEIR RESPECTIVE
              STOCKHOLDERS MAKES ANY REPRESENTATIONS, WARRANTIES
              OR      COVENANTS          REGARDING            SUCH       TAXES       OR      TAX
              CONSEQUENCES OF EMPLOYEE, AND THE COMPANY, PARENT
              CORPORATION AND THEIR RESPECTIVE STOCKHOLDERS SHALL
              HAVE NO LIABILITY THEREFOR. EMPLOYEE ACKNOWLEDGES
              THAT HE IS AWARE THAT THE TAX CONSEQUENCES ARISING
              FROM THE OWNERSHIP AND DISPOSITION BY EMPLOYEE OF ANY
              EMPLOYEE EQUITY AND THE TAX CONSEQUENCES ARISING IN
              CONNECTION WITH THE PROVISIONS OF THIS SECTION S(F) AND
              THE TRANSACTIONS CONTEMPLATED HEREBY ARE COMPLEX
              AND THAT EMPLOYEE HAS BEEN ENCOURAGED TO SEEK
              INDEPENDENT PROFESSIONAL GUIDANCE OR COUNSEL WITH
              RESPECT TO SUCH TAX CONSEQUENCES.                                     EMPLOYEE
              ACKNOWLEDGES THAT HE HAS EITHER SOUGHT SUCH
              GUIDANCE OR COUNSEL OR DETERMINED AFTER REVIEWING
              THIS AGREEMENT CAREFULLY THAT HE WILL WAIVE SUCH
              RIGHT.

                      (v)   Notwithstanding anything to the contrary herein, (A) the Majority
              Series A Holder may assign any or all of its rights under this Section 5(f) at any
              time to any Person and (B) the Company may assign any or all of its rights under

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               this Section 5Cf) with respect to any proposed Transfer of common stock or other
               equity of Parent Corporation to Parent Corporation, in either case with written
               notice to Employee of any such assignment.

                      (vi)   The Majority Series A Holder and the other stockholders of the
               Company are express thirdwparty beneficiaries of this Section 5(f), and this
               Section 5(f) may not be amended without the written consent of the Majority
               Series A Holder.

        6.     Notices. Any notice or other communications relating to this Agreement shall be
in writing and delivered personally or mailed by certified mail, return receipt requested, or sent
by overnight courier, to the Party concerned at the address set forth below:

                If to Company:           VeroBlue Farms USA, Inc.
                                         1507 Capital Avenue, Suite 101
                                         Plano, TX 75074


                If to Employee:          Keith Driver
                                         1507 Capital Avenue, Suite 101
                                         Plano, TX 75074

Either Party may change the address for the giving of notices at any time by written notice given
to the other Party under the provisions of this Section 6. If notice is given by personal delivery or
overnight courier, said notice shall be conclusively deemed given at the time of such delivery or
upon receipt of such couriered notice. If notice is given by mail, such notice shall be
conclusively deemed given upon deposit thereof in the United States mail.

        7.     Assignment. Except as otherwise provided in Section 5(f)(v), neither this
Agreement nor any of the rights, interests or obligations hereunder shall be assigned by any Pmiy
hereto without the prior written consent of the other Party hereto. In the event of the assignment
of this Agreement pursuant to the provisions of this Section 7, this Agreement shall be binding
upon and inure to the benefit of the Parties hereto and their successors and permitted assigns.

        8.      Remedies. Employee acknowledges that the services Employee is to render under
this Agreement are of a unique and special nature, and because Employee has access to
Confidential Information, the loss of which cannot reasonably or adequately be compensated for
in monetary damages, and that irreparable injury and damage will result to the Company in the
event of any default or breach of this Agreement by Employee. The Parties agree and
acknowledge that the breach by Employee of any of the te1ms of this Agreement will cause
irreparable damage to the Company, and upon any such breach, the Company shall be entitled to
injunctive relief, specific perforn1ance, or other equitable relief (without posting a bond or other
security); provided, however, that this shall in no way limit any other remedies which the
Company may have (including, without limitations, the right to seek monetary damages).

        9.    Entire Agreement. This Agreement constitutes the entire agreement between the
Parties and supersedes all prior written and oral m1d all contemporaneous oral agreements,
understandings and negotiations with respect to the subject matter hereof. Without limiting the

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 generality of the foregoing sentence, this Agreement supersedes any prior employment
 agreement, oral or written which shall terminate and be cancelled as of the Effective Date, except
 for any breaches thereof by Employee prior to the Effective Date which shall survive such
 termination. This Agreement may not be changed orally, but only by an agreement in writing
 signed by both Parties.

         I 0.   Governing Law; Construction. This Agreement shall be governed under and
 construed in accordance with the laws of the State of Texas, without regard to the principles of
 conflicts of laws. The paragraph headings and captions contained herein are for reference
 purposes and convenience only and shall not in any way affect the meaning or interpretation of
 this Agreement. It is intended by the Parties that this Agreement be interpreted in accordance
 with its fair and simple meaning, not for or against either Party, and neither Party shall be
 deemed to be the drafter of this Agreement.

        11.     Severability. The Parties agree that if any provision of this Agreement as applied
to any Party or to any circumstance is adjudged by a court or arbitrator to be invalid or
unenforceable, the same will in no way affect any other circumstance or the validity or
enforceability of this Agreement. Without limiting the generality of the foregoing, in particular,
if any provision in Section 4, or any part thereof, is held to be unenforceable because of the
duration of such provision or the area covered thereby, the Parties agree that the court or
arbitrator making such determination shall have the power to reduce the duration and/or area of
such provision, and/or to delete specific words or phrases, and in its reduced form, such
provision shall then be enforceable and shall be enforced. In addition, in the event of a breach or
violation by Employee of Section 4, the Restricted Period shall be automatically extended
respectively by the amount of time between the initial occurrence of the breach or violation and
when such breach or violation has been duly cured.

        12.   Counterparts/Electronic Signatures. This Agreement may be executed in one or
more counterparts, each of which shall be deemed an original but all of which shall constitute
one and the same instrument. For purposes of this Agreement, use of a facsimile, e-mail or other
electronic medium shall have the same force and effect as an original signature.

        13.    Dollars. Unless otherwise provided in this Agreement, all dollar amounts
referenced in this Agreement are United States dollars.

        14.    Withholding. The Company shall be entitled to withhold from any payments or
benefits made or provided under this Agreement all applicable federal, state, city or other
applicable taxes.

         15.    Survival. Sections 1:_, 2-(tl, Q_, 1, ~' _2, l.Q, ll, .U, _11, 14 and this Section 15 shall
survive the tern1ination of this Agreement and shall continue in full force and effect according to
their terms.

        16.     Section 409A.

              (a)     This Agreement is intended to comply with or be exempt from Section
409A of the Internal Revenue Code of 1986, as amended ("Section 409A") and shall be
construed accordingly. It is the intention of the Parties that payments or benefits payable under

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this Agreement not be subject to the additional tax or interest imposed pursuant to Section 409A.
To the extent such potential payments or benefits are or could become subject to Section 409A,
the Parties shall cooperate to amend this Agreement with the goal of giving Employee the
economic benefits described herein in a mam1er that does not result in such tax or interest being
imposed. However, in no event shall the Company be liable to Employee for any taxes, interest,
or penalties due as a result of the application of Section 409A to any payments or benefits
provided hereunder.

              (b)    Each payment provided for in this Agreement shall, to the extent
permissible under Section 409A, be deemed a separate payment for purposes of Section 409A,
and any payment to be made in installments shall be treated as a series of separate payments.

               (c)    Payments or benefits pursuant to this Agreement shall be treated as
exempt from Section 409A to the maximum extent possible under Treasury Regulation Section
1.409A-l(b)(9)(v), and/or under any other exemption that may be applicable, and this Agreement
shall be construed accordingly. For purposes of Section 5, phrases such as "termination of
employment" shall refer to Employee's "separation from service," as defined for purposes of
Section 409A.

               (d)    All taxable expenses or other reimbursements or in-kind benefits under
this Agreement shall be made on or prior to the last day of the taxable year following the taxable
year in which such expenses were incurred by Employee. Any such taxable reimbursement or
any taxable in-kind benefits provided in one calendar year shall not affect the expenses eligible
for reimbursement or in-kind benefits to be provided in any other taxable year.

               (e)    Employee shall have no right to designate the date of any payment
hereunder.




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         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the day and
 year first above written.

                                        COMPANY:




                                        EMPLOYEE:




                                        Keith Driver   '




                        Signature Page to Employment Agreement
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               BUSINESS RELAT IONSH IP RESTR UCTUR ING AGREE MENT


         This Business Relationship Restructuring Agreement (this "Agreem ent") is made and
 entered into as of January 13, 2017 (the "Effecti ve Date"), by and among VeroBlue Farms
                                                                                          Inc., a
 Canadian corporation ("VBF Canada "), VeroBlue Farms USA, Inc., a Nevada corporation
                                                                                         ("VBF
 USA"), Keith Driver, a resident of Calgary, Canada ("Drive r"), and Seven Hours Holding
 Company, Inc., a Canadian corporation, which is one hundred percent (100%) owned by
                                                                                          Driver
 ("Drive r Co."). VBF Canada, VBF USA, Driver and Driver Co. are sometimes each referred
                                                                                               to
 herein as a "Party" and collectively, as the "Parties ".



         WHERE AS, Driver and VBF USA are parties to that certain Employment Agreement, dated
 as of July I, 2016 (the "Emplo yment Agreem ent"); and

      WHERE AS, Driver Co: owns 2,500,000 common shares of VBF Canada (the "VBF
 Canada Shares" ); and

       WHERE AS, on November 16, 2016, Driver delivered to VBF USA a letter providing notice
that VBF USA was in breach of the Agreement and such breach constituted "Good Reason"
                                                                                          under
the Employment Agreement allowing Driver to terminate the Employment Agreement if such
                                                                                         breach
was not cured within thirty (30) days after such notice (the "Good Reason Claims" ); and

        WHERE AS, VBF USA denies that Driver has "Good Reason" to terminate the
Employment Agreement, and VBF USA has claims against Driver that he has breached
                                                                                            the
Employment Agreement because, among other things, Driver has failed to maintain his main
                                                                                         office
in Dallas, Texas, and Driver has engaged in other business interests and engagements outside
                                                                                             of
VBF USA (the "Egregi ous Cause Claims"); and

        WHERE AS without admitting any liability on the part of any Party, and in order to resolve
their claims against each other, the Parties desire to restructure their business relationship
                                                                                               to the
extent provided herein;

        NOW, THERE FORE, in consideration of the foregoing and for other good and valuable
consideration, the receipt and sufficiency of which is hereby acknowledged, the Parties hereby
                                                                                               agree
as follows:

         1.     Termination ofEmplo yment Agreement. Stock Option Agreement and Stock Option
Grant. Effective as of the Effective Date: (i) the Employment Agreement is hereby terminat
                                                                                                  ed and
of no further force or effect; (ii) that certain Stock Option Agreement, dated as ofJuly 14, 2016,
                                                                                                      by
and between VBF USA and Driver (the "Stock Option Agreem ent") is hereby terminated and
                                                                                                   of no
further force or effect; and (iii) that certain Stock Option Grant Notice, dated as of July 14, 2016,
                                                                                                      by
and between VBF USA and Driver (the "Stock Option Grant Notice") is hereby terminated
                                                                                                  and of
no further force or effect; it being agreed and understood that all obligations of the Driver and
                                                                                                   VBF
USA under the Employment Agreement (payment or otherwise), the Stock Option Agreem
                                                                                                 ent and
the Stock Option Grant Notice are terminated in their entirety.




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        2.     Execution and Delivery of Consulting Agreement. Simultaneously with the execution
 and delivery of this Agreem ent by the Parties, Driver and VBF USA shall execute and
                                                                                       deliver a
 Consulting Agreement, a copy of which is attached hereto as Exhibit A (the "Consu
                                                                                           lting
 Agreement").

        3.     Cancellation of VBF Canada Shares. Effectiv e as of the Effective Date, the VBF
 Canada Shares shall be deemed to be cancelled, and Driver hereby grants to Leslie Wulfa
                                                                                         power-of-
 attomey, which is coupled with an interest, to execute and deliver any and all documen
                                                                                            tation
 required by TSX Trust, VBF Canada' s transfer agent, to cancel the VBF Canada Shares.

         4.      Confidentialitv; Agreem ent Not-To Compete.

                 (a)    Driver acknowledges that during his employment and as a result of his past,
 relationship with VBF USA, Driver has obtained, and has been given access to, informa
                                                                                                      tion
 concerning VBF USA and Parent Corporation and their respective affiliates, includin
                                                                                              g, but not
 limited to, information regarding the business, operations, services, proposed services
                                                                                              , business
 processes, business and marketing strategies, advertising, marketing and promotional
                                                                                               plans and
materials, pricing strategies and policies, financial information, stockholders and other trade
                                                                                                  secrets,
 confidential information and proprietary material ofVBF USA, including information and
                                                                                                 material
originated, discovered or developed in whole or in part by Driver (collectively referred to
                                                                                                herein as
"Confidential Information"). The term "Confidential Information" does not include
                                                                                                      any
information which (i) at the time of disclosure is generally available to the public (other
                                                                                                than as a
result of a disclosure by Driver in breach of the Employ ment Agreement), or (ii) was available
                                                                                                        to
Driver on anon-co nfidenti al basis from a source (other than VBF USA or its representatives)
                                                                                                   that is
not and was not prohibited from disclosing such information to Driver by a contractual,
                                                                                                 legal or
fiduciary obligation. Driver agrees that, to the full est extent permitted by law, Driver
                                                                                               will, in a
fiduciary capacity for the benefit of VBF USA, hold all Confidential Information
                                                                                              strictly in
confidence and will not directly or indirectly reveal, report, disclose, publish or transfer any
                                                                                                  of such
Confidential Iriformation to any person or entity, or utilize any of the Confidential Informa
                                                                                                 tion for
any purpose, except in furtherance of Driver's duties under the Consulting Agreem ent and
                                                                                                except to
the extent that Driver may be required by law to disclose any Confidential Information.

                   (b)     For a period of five (5) years after the Effective Date (the "Restricted
Period"), he shall not directly or indirectly: (i) own any interest in, manage, control, participa
                                                                                                      te in,
consult with, render services for, be employed in an executive, managerial or administrative
                                                                                                  capacity
by, or in any manner engage in, any Compet ing Busines s (as defined below); (ii) solicit,
                                                                                                request or
induce any adviser, consultant or agent of the VBF USA or any ofits affiliates to terminat
                                                                                               e his or her
employment or relationship with such company, nor hire any adviser, or consultant ofVBF
                                                                                                  USA or
any of its affiliates, or (iii) solicit, request, or induce or attempt to solicit, request, or
                                                                                                induce or
attempt to induce any customer, supplier, licensee or other business relation ofVBF USA
                                                                                                 or any of
its affiliates to cease doing business with, or modify its business relationship with VBF USA
                                                                                                    or any
of its affiliates, or in any way interfere with or hinder the relationship between any such
                                                                                               customer,
supplier, licensee or business relation and VBF USA or and of its affiliates, as applicab
                                                                                                  le. For
purposes hereof, "Competing Business" means a business that, directly or indirectly, cultures
                                                                                                    and/or
hatches finfish or shrimp; excluding however, a business that cultures and/or hatches shrimp
                                                                                                   located
in Alberta, Canada or British Colombia, Canada solely for sales and resales to persons and
                                                                                                entities in
Alberta, Canada and British Colombia, Canada. Nothing herein shall prohibit Driver from
                                                                                                   being a



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 passive owner of not more than five percent (5%) of the outstanding stock of any class of a
 corporation that is publicly traded, so long as Driver has no active participation in the business of
 such corporation. In addition, during the Restricted Period, prior to accepting any position, or
 becoming involved, any person or entity that is potentially a Competing Business, Driver agrees to
 inform such person or entity, as the case may be, of the provisions of this Agreement, and
 specifically the provisions of this Section 4.

                 (c)   Driver agrees and acknowledges that the restrictions contained in this
 Section 4 are reasonable in scope and duration and are necessary to protect the business interests and
 confidential information of VBF USA, and Driver further agrees and acknowledges that he has
 reviewed the provisions of this Agreement with his legal counsel.

               (d)     If any provision in this Section 4, or any part thereof, is held to be
unenforceable because of the duration of such provision or the area covered thereby, the Parties
agree that the court or arbitrator making such determination shall have the power to reduce the
duration and/or area of such provision, and/or to delete specific words or phrases, and in its reduced
form, such provision shall then be .enforceable and shall be enforced. In addition, in the event of a
breach or violation by Driver of Section 4, the Restricted Period shall be automatically extended
respectively by the amount of time between the initial occurrence of the breach or violation and
when such breach or violation has been duly cured.

         5.     Releases.

                 (a)    As a material inducement to VBF USA and VBF Canada to enter into this
 Agreement, and except for the covenants and agreements ofVBF USA and VBF Canada provided
 for in this Agreement, Driver and Driver Co., on their own behalf and on behalf of their respective
 equityholders, directors, managers, officers, affiliates, heirs, dependents, successors and assigns, or
any of them (collectively, the "Driver Releasers") hereby irrevocably and unconditionally release,
acquit and forever discharge VBF USA and VBF Canada and each of their respective successors,
assigns, agents, members, managers, officers, employees, representatives, subsidiaries and affiliates
and all persons acting by, through, under or in concert with any of them (collectively, the "VBF
Releasees"), or any of them, from any and all charges, complaints, claims, liabilities, obligations,
promises, agreements, controversies, damages, actions, causes of action, suits, rights, demands,
costs, losses, debts and expenses (including attorneys' fees and costs actually incurred), of any
nature whatsoever, known or unknown ("Driver Claim" or "Driver Claims") which the Driver
Releasers now have, own, hold, or which the Driver Releasers at any time heretofore had, owned or
held against each of the VBF Releasees including, but not limited to: (i) all Driver Claims under the
Age Discrimination in Employment Act of 1967, as amended; (ii) all Driver Claims under Title VII
of the Civil Rights Act of 1964, as amended; (iii) all Driver Claims underthe Employee Retirement
Income Security Act of 1974, as amended; (iv) all Driver Claims arising under the Americans With
Disabilities Act of 1990, as amended; (v) all Driver Claims arising under the Family and Medical
Leave Act of 1993, as amended; (vi) all Driver Claims related to Driver's employment or
engagement with the VBF Releasees; (vii) all Driver Claims of unlawful discrimination based on
age, sex, race, religion, national origin, handicap, disability, equal pay, sexual orientation or
otherwise; (viii) all Driver Claims of wrongful discharge, breach of an implied or express
employment contract, negligent or intentional infliction of emotional distress, libel, defamation,
breach of privacy, fraud, breach of any implied covenant of good faith and fair dealing and any other



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federal, state, or local common law or statutory claims, whether in tort or in contract; (xi) all Driver
Claims related to unpaid wages, salary, deferred compensation, overtime compensation, bonuses,
severance pay, vacation pay or other compensation or benefits arising out ofDriver' s employment or
engagement with any VBF Releasee; (x) all Driver Claims arising under any federal, state or local
regulation, law, code or statute; (xi) all Driver Claims of discrimination arising under any state or
local law or ordinance; (xii) all Driver Claims that the Driver Releasers have pertaining to the
purchase, holding and cancellation of the VBF Canada Shares; (xiii) the Good Reason Claims; and
(xiv) all Driver Claims relating to any agreement, arrangement or understanding that the Driver
Releasers have, or may have, with any VBF Releasee (but specifically excluding this Agreement) for
anything occurring prior to the Effective Date. The Driver Releasers represent that they have not
heretofore assigned or transferred, or purported to assign or transfer, to any person or entity, any
Driver Claim or any portion thereof or interest therein.

                (b)     As a material inducement to Driver and Driver Co. to enter into this
Agreement, and except for the covenants and agreements of Driver and Driver Co. provided for in
this Agreement, VBF USA and VBF Canada, on their own behalf and on behalf of the other VBF
Releasees, hereby irrevocably and unconditionally release, acquit and forever discharge the Driver
Releasers from any and all charges, complaints, claims, liabilities, obligations, promises,
agreements, controversies, damages, actions, causes of action, suits, rights, demands, costs, losses,
debts and expenses (including attorneys' fees and costs actually incurred), of any natnre whatsoever,
known or unknown (the "VBF Releasee Claims") which the VBF Releasees now have, own, hold,
or to which the VBF Releasees at any time heretofore had, owned or held against each of the Driver
Releasers, including, without limitation, the Egregious Cause Claims. The VBF Releasees represent
that they have not heretofore assigned or transferred, or purported to assign or transfer, to any person
or entity, any VBF Releasee Claim or any portion thereof or interest therein.

                (c)     Driver, on his own behalf and on behalf of the other Driver Releasers, agrees
not to make any disparaging or negative statements, written or verbal, regarding any of the VBF
USA Rel easees at any time in the futnre, whether such statement is true or false, except as required
by law or in defense of any legal action brought by any VBF USA Releasee against any Driver
Releaser in violation of this Agreement. VBF USA, on its own behalf and on behalf of the other
VBF USA Releasees, agrees not to make any disparaging or negative statements, written or verbal,
regarding any of the Driver Releasers at any time in the future, whether such statement be true or
false, except as required by law or in defense of any legal action brought by any Driver Releaser
against any VBF USA Releasee in violation of this Agreement.

        6.     Settlement Consideration.

              (a)      In consideration of the matters described in Sections 1-5 above, VBF USA
agrees to make the following payments to Driver:

                       (i)     a payment of $550,000 on the Effective Date ($500,000 of which is
               for the cancellation of the VBF Canada Shares as described in Section 3 above, and
               the remaining $50,000 of which is for severance pay);




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                        (ii)  a payment of $100,000 on the first anniversary of the Effective Date,
                 which amount shall be allocated to the non-compete provisions of Section 4(b)
                 above;

                        (iii)  a payment of $100,000 on the second anniversary of the Effective
                 Date, which amount shall be allocated to the non-compete provisions of Section 4(b)
                 above;

                        (iv)  a payment of$ I 00,000 on the third anniversary of the Effective Date,
                 which amount shall be allocated to the non-compete provisions of Section 4(b)
                 above;

                        (v)    a payment of$ I 00,000 on the fourth anniversary of the Effective
                 Date, which amount shall be allocated to the non-compete provisions of Section 4(b)
                 above; and

                        (vi) a payment of $100,000 on the fifth anniversary of the Effective Date,
                 which amount shall be allocated to the non-compete provisions of Section 4(b)
                 above.

Notwithstanding anything in this Agreement to the contrary, in the event that Driver breaches any of
the provisions of Section 4, than any and all payments to be made in subitems (b) - (d) above that
have not been made shall be deemed to be cancelled in their entirety, in addition to any and all rights
and remedies that VBF USA may have under law or in equity; it being agreed and understood that
the cancellation of any such payments shall not preclude VBF USA from pursuing a claim against
Driver for any such breach.

               (b)     For all amounts that are owed to Consultant by the Company as of the
Effective Date, (including, without limitation, unpaid salary, PTO and expenses), on the Effective
Date, the Company will pay Consultant $7,001.05.

         7.      Reoresentations and Warranties. Each Party hereby represents and warrants to each
other Party that the following representations and warranties are true and correct as of the date
hereof: (a) such Party is fully competent to execute, deliver and perform this Agreement; (ii) this
Agreement has been duly executed and delivered by such Party and constitutes a legal, valid and
binding obligation of such Party, enforceable against such Party in accordance with its terms, except
as may be limited by applicable bankruptcy, insolvency or similar laws affecting creditors' rights
generally or the availability of equitable remedies; and (iii) neither the execution, delivery or
performance of this Agreement nor the consummation of the transactions contemplated hereby or
thereby will: (!)conflic t with, or result in a violation or breach of the terms, conditions or provisions
of, or constitute a default under any agreement, indenture or other instrument under which such Party
is bound or subject; or (2) violate or conflict with any judgment, decree, order, statute, rule or
regulation of any court or any public, governmental or regulatory agency or body havingjurisdiction
over such Party.

        8.      Miscellaneous.




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               (a)     Any notice or communication hereunder must be in writing and given by
depositing the same in the United States or Canadian mail, addressed to the Party to be notified,
postage prepaid and registered or certified with return receipt requested, or by delivering the same in
person. Such notice shall be deemed received on the date on which it is hand-delivered, or delivered
by Federal Express or on the third business day following the date on which it is so mailed. For
purposes of notice, the addresses of the Parties shall be as follows:

                If to VBF Canada or VBF USA:           c/o VeroBlue Farms USA, Inc.
                                                       3369 Premier Drive, Suite 300
                                                       Plano, Texas 75023
                                                       Attn: Chief Executive Officer

                Ifto Driver or Driver Co.:             c/o Keith Driver
                                                       5858 Dalcastle Drive NW
                                                       Calgary, Alberta, Canada T3A-l Z3

Any Party may change its address for notice by written notice given to the other party in accordance
with this Section.

               (b)     This Agreement (including the Consulting Agreement) contains the entire
agreement among the Parties relating to the subject matter hereof and supersedes any prior
agreement, arrangement or understanding, oral or written, among the Parties with respect to the
subject matter hereof.

              (c)    All dollar amounts used herein are United States dollars, and all amounts
payable hereunder shall be paid in United States dollars.

              (d)      VBF USA shall be entitled to withhold from any payments or benefits made
or provided under this Agreement all applicable federal, state, city or other applicable taxes.

                (e)    No alterations, amendments, waiver, or any other change in any term or
provision of this Agreement shall be valid or binding on any Party unless the same shall have been
agreed to in writing by all of the Parties. No waiver or default of any term ofthis Agreement shall
be deemed a waiver of any subsequent breach or default of the same or similar nature. This
Agreement may not be changed except by written agreement signed by all Parties.

               (f)      Each Party acknowledges that a refusal by such Party to perform any covenant
or agreement contained in this Agreement may cause irreparable harm to one or more of the other
Parties, for which there may be no adequate remedy at law and for which the ascertainment of
damages would be difficult. Therefore, the Parties agree that in any such case, the other Party or
Parties shall be entitled, in addition to, and without having to prove the inadequacy of, other
remedies at law, to specific performance of this Agreement, as well as injunctive relief (without
being required to post bond or other security).

               (g)     In the event it becomes necessary to bring suit to enforce any provision of this
Agreement, the prevailing Party shall be entitled to recover, in addition to any other award,
reasonable legal costs, including court costs and attorney's fees, from the non-prevailing Party or
Parties.



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                                                                   -
                                         SEVEN HOURS HOLDING COMPANY,


                                         :c         ~
                                          KeithDri :resraent




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                                    EXHIBIT A


                           Form of Consulting Agreement




                               [See attached document]




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                                   CON SUL TING AGR EEM ENT


           This Consulting Agreement (this "Agr eeme nf'),
                                                             dated as of Januruy 13, 2017 (the
   "Effective Date ") is by and between VeroBlue Farm
                                                         s USA, me., a Nevada corporation (the
   "Com pany "), and Keith Driver, a resident of Calg
                                                      aty, Alberta ("Consultant"). The Company
   and Consultant are sometimes each referred to herei
                                                         n as a "Par ty" and collectively, as the
   "Parties. n

          WHE REA S, the Company desires to engage Consultan
                                                                  t as an independent contractor to
  perform certain services for the Company, and Cons
                                                     ultant desires to be retained by the Company
  to perform such services;

          NOW , THE REF ORE , in consideration of the
                                                             foregoing recitals and the mutual
  covenants and agreements set forth herein and other
                                                      good and valuable consideration, the receipt
  and sufficiency of which are hereby acknowledged
                                                        and agreed, the Parties hereby agree as
  follows:

          1.      Services. The Company hereby retains Consultan
                                                                      t to serve as an independent
  contractor to the Company to consult and provide the
                                                         Company and its subsidiaries with advice
 and assistance in the following areas: water treatment,
                                                         permitting, technical services and general
 research and development (the "Services"). Consultan
                                                          ts shall only be required to spend sixty
 (60) hours per month in providing the Services to the
                                                         Company; it being agreed and understood
 that Consultant shall be required to receive pre-a
                                                      pproval from an executive officer of the
 Company to provide the Services in any month over
                                                      the sixty (60) hour requirement, and if such
 approval is received, Consultant will be compensated
                                                       by the Company at the rate of $150/hour.
         2.      Compensation. As compensation for performing the
                                                                       Services, the Company shall
 pay Consultant the following compensation:

                 (a)     A fee of $100,000 per annum, payable in installmen
                                                                            ts of $8,333.33 per
          month, in arrears, on the first day of each calendar mont
                                                                   h; and
                 (b)    During the term of this Agreement, the Com
                                                                            pany shall reimburse
          Consultant for all reasonable and necessaty out-o
                                                              f-pocket travel and other expenses
          incurred by Consultant in rendering Services hereu
                                                                 nder, on a monthly basis upon
          submission of a detailed monthly statement and
                                                              reasonable documentation; it being
          agreed and understood that all expenses over $1,000
                                                               must be approved in advance by the
          Company.

The compensation set forth above will be the sole
                                                       compensation payable to Consultant for
performing the Services under the Agreement, and
                                                     no additional compensation or fee will be
payable by the Company to Consultant by reason of
                                                    any benefit gained by the Company directly
or indirectly through Consultant performing the Servi
                                                      ces, nor shall the Company be liable in any
way for any additional compensation or fee for Cons
                                                     ultant's performing the Services, unless the
Company shall have expressly agreed thereto in writin
                                                      g.




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              3.   Status as Independent Contractor.

                  (a)     The Parties acknowledge and covenant that (i) Cons
  exclusively as an independ~nt contractor, and not as an                             ultant will act
                                                           employee, of the Comp any in performing
  the Services, and (ii) the Parties do not intend, and will
                                                             not hold out that there exists, any joint
  venture, undertaking for a profit or other form of
                                                             business venture or any employment
  relationship between the Parties other than that of
                                                           an independent contractor relationship.
  Consultant is not entitled to the benefits provided by the
                                                               Company to its employees, including
  but not limited to Work men's Compensation Insurance,
                                                           unemployment insurance, and health and
  welfare benefits.

                  (b)    In performing the Services, Consultant is obligated
 service within industry standards. The manner and mean                          to provide quality
                                                               s of conducting the work are under
 Cons ultan t's exclusive control. Consultant is solely respo
                                                              nsible for his own conduct during the
 performance of this Agreement.

          4.       Confidential Information; Intellectual Property.

                  (a)    Consultant, while engaged by the Company hereunder
  thereafter, will not, without the express written consent                          or at any time
                                                             of the Company, directly or indirectly
 communicate or divulge, or use for the benefit of Cons
                                                            ultant, or of any other person, firm or
 association, any of the Comp any's trade secrets,
                                                          proprietary data or other confidential
 information, which trade secrets and confidential inform
                                                                 ation were communicated to or
 otherwise learned or acquired by Consultant in the cours
                                                            e of Cons ultan t's engagement with the
 Company and that is not otherwise generally known withi
                                                             n the Comp any's industry, except that
 Consultants may disclose such matters to the extent that
                                                             disclosure is required pursuant to any
 deposition, interrogatory, request for documents, subpoena,
                                                              civil investigative demand, or similar
 process. Consultant agrees not to any such trade secrets
                                                          or confidential information in any way or
 in any capacity other than as an independent contractor
                                                              of the Company and to further the
 Comp any's interests.

                (b)    Consultant recognizes that the Company has received
                                                                                    and in the future
will receive from third parties their confidential or propr
                                                            ietary information subject to a duty on
the Comp any's part to maintain the confidentiality of
                                                          such information and to use it only for
certain limited purposes. Consultant agrees that Cons
                                                         ultant owes the Company and such third
parties, during the term of Cons ultan t's engagement hereu
                                                              nder and thereafter, a duty to hold all
such confidential or proprietary information in the strict
                                                           est confidence and not to disclose it to
any person, firm or company (except as necessary in
                                                         carrying out my work for the Company
consistent with the Comp any's agreement with such third
                                                               party) or to use it for the benefit of
anyone other than for the Company or such third
                                                          party (consistent with the Comp any's
agreement with such third party) without the prior conse
                                                          nt of an authorized representative of the
Company.

               (c)    To the extent that, during the term of this Agreement, Cons
solely conceives, develops or reduces to practice any                             ultant jointl y or
                                                             new inventions, original works of
authorship, developments, concepts, know-how, impro
                                                        vements or trade secrets, whether or not
patentable or registerable under copyright or simil
                                                         ar laws or other intellectual property



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   (collectively, "Intellectual Property"), then all rights,
                                                               titles and interests in, to any under such
   Intellectual Property shall be deemed to be exclusively
                                                               owne d by the Company. The Company
   shall exclusively own all U.S. and international rights,
                                                             title and interest in and to the Intellectual
   Property, including, but no limited to all graphical, textua
                                                                 l and other contents, and all copyrights
   and any other intellectual property rights therein (e.g.,
                                                               patent an·d trademark rights). Consultant
   hereby assigns to the Company all rights, title and intere
                                                               st in and to the Intellectual Property, and
   Consultant agrees to promptly execute and deliver, and
                                                              to cause its employees and/or contractors
  to promptly execute and deliver, any and all documentati
                                                                   on or instruments that the Company
  reasonably believes is necessary to transfer all rights
                                                                , titles and interests in and to such
  Intellectual Property to the Company. The Company and
                                                                   its successors and assigns shall have
  the right to obtain and hold in its own name all copyr
                                                             ight or trademark registrations and other
  evidence of rights that may be available for the delive
                                                                    rables and any portion(s) thereof.
  Consultant agrees that the Intellectual Property shall be
                                                                 considered a "wor k made for hire" as
  that term is defined under the copyright laws of the Unite
                                                                d States and other countries.
                 (d)    Notwithstanding anything herein to the contrary, the
 and agree that the provisions of Section 4(c) shall not apply                    Parties understand
                                                               to the shrimp culturing system which
 have been developed by Consultant, Sheri ff and/or their
                                                            affiliates independently of the provision
 of Services hereunder.

         5.      Indemnification.    The Company agrees to indemnify and hold harm
 Consultant from and against any and all losses, claims,                                        less
                                                         damages, liabilities and expenses, and all
 actions, inquiries, proceedings and investigations in respe
                                                              ct thereof, to which Consultant may
 become subject arising in any mann er out of or in conne
                                                              ction with Cons ultan t's engagement
 under this Agreement; provided, however, that the
                                                          Company shall not be responsible to
 indemnify Consultant under this Section 5 to the extent
                                                         that such loss, claim, damage, liability or
 expense has been finally judicially determined to have
                                                             resulted primarily and directly from
 actions taken or omitted to be taken by Consultant
                                                         due to his gross negligence or willful
 misconduct. To the extent that any prior indemnifica
                                                           tion paym ent the Company made to
 Consultant is determined to have been impro per by reaso
                                                            n of Cons ultan t's gross negligence or
 willful misconduct, Consultant will promptly pay the Comp
                                                             any such amount.
         6.     Term of Agreement: Termination.

               (a)    This Agreement shall commence as of the Effective
continue until terminated by either Party upon written                          Date and shall
                                                       notice to the other Party, which written
notice may not be given by the Company before Dece mber
                                                          28, 2017.
               (b)     Notwithstanding anything herein to the contrary, the provi
                                                                                  sions of Section
4 and 5 above, this subsection (b) and Section 7 below,
                                                        shall survive the termination of the Term
and this Agreement.

         7.     Miscellaneous Provisions.

                (a)    The invalidity or unenforceability of any provision of this
not affect the validity or enforceability of any other provi                       Agreement shall
                                                             sions of this Agreement, which shall
remain in full force and effect.



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                  (b)   This Agreement shall be governed by and construed in accordance with
  the laws of the State of Texas, regardless of the laws that might otherwise
                                                                                      govern under
  applicable principles of conflicts of laws thereof. The Parties agree that
                                                                                      the exclusive
 jurisdiction of any case or controversy arising under or out of this Agreement shall
                                                                                      be in the state
 of federal courts located in Dallas, Texas, and each of the Parties hereby
                                                                                   consents to the
 jurisdiction of such courts.

              (c)    The descriptive headings herein are inserted for convenience of reference
 only and are not intended to be part of or to affect the meaning or interpre
                                                                                tation of this
 Agreement.

               (d)    This Agreement may not be modified, amended, altered or supplemented
 except upon the execution and delivery of a written agreement executed by both of
                                                                                   the Parties.
               (e)    This Agreement constitutes the entire agreement between the Parties with
 respect to the subject matter hereof and supersedes all other prior agreem
                                                                                     ents and
 understandings, both written and oral, between the Parties with respect to the
                                                                                subject matter
 hereof.

                (f)    All dollar amount used herein are United States dollars.

                (g)    All notices provided under this Agreement by any Party to any other Party
shall be in writing, and shall be delivered in person or sent by an internationally
                                                                                         recognized
overnight express courier service, by first class certified or registered mail
                                                                                    (return receipt
requested}, or by email or facsimile transmission (confirmed by mailing a copy
                                                                                     thereof to the
recipient in accordance with this Section 7(g)) to such Party's address, email address
                                                                                        or facsimile
number set out below. Any such notice shall be effective (i) immediately (if delivere
                                                                                        d in person
or sent by confirmed email or facsimile}, (ii) on the third business day after
                                                                                    delivery to an
internationally recognized overnight express courier service or (iii) five days
                                                                                  after mailing (if
sent by mail), and in proving same it shall be sufficient to show that the envelop
                                                                                  e containing the
same was delivered to the courier or postal service and duly addressed, or that
                                                                                       receipt of a
facsimile was confirmed by the recipient as provided above. The addresses
                                                                                     and facsimile
numbers of the Parties for purposes of this Agreement are:



                        If the notice is to the Company:

                        VeroBlue Farms USA, Inc.
                       3369 Premier Drive, Suite 300
                       Plano, Texas 75023
                       Attn: Leslie Wulf, Chief Executive Officer
                       Email: les.wulf@verobluefarms.com




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                       If the notice is to the Consultant:

                       Keith Driver
                       5858 Dal Castle Drive NW
                       Calgary, Alberta, Canada T3A-IZ3
                       Email: IC OQ1VE'.@@.Qf<J:v£Q_PQOJf'.c:r.s C:OM


               (h)     This Agreement may be executed in counterparts, each of which shall be
 deemed to be an original, but all of which shall constitute one and the same agreement.

         EXECUT ED as of the Effective Date.


                                           VEROBLUE FARMS USA, INC.


                                           By: ~~--,--~---.,-~~~~~~~~~~~
                                                Leslie Wulf,
                                                Chief Executive Officer



                                                                           -




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                                                RESOLUTION

On motion duly made and     seconded,~   is unanimously resolved THAT the:

President is hereby authorized and empowered on behalf of the Company to accept and convey, assign,
transfer or otherwise dispose of all or any shares, stocks, bonds, debentures, or debenture stock and
other securities of every description now or hereafter registered in the name of the Company or held or
owned by the Company and to make, sign and execute on behalf of the Company all and any instruments
of acceptance, assignment and transfer and documents whenever necessary or proper to effectuate the
same with full power to appoint in their place and stead an attorney or attorneys w~ full power of
substitution therein, and that any and all instruments of acceptance, assignment and transfer and other
documents in connection therewith and heretofore signed and executed on behalf of the Company in
accordance with the authority set out above are hereby ratified and confirmed.

                                                CERTIFICATE

I hereby certify that the foregoing is a true and correct copy of a Resolution~ly passed at a meeting of
the Directors of Seven Hours Holding Company Inc. regularly held on the£ ilay of ~·clctrl , 2017
and that the said Resolution is now in full force and effect. I further certify that the following is a list of all
Directors, officers and employees of the Company authorized by this Resolution to do any act or thing
with a true specimen of their signatures. I further certify that the following persons still hold their
respective offices at the present time.

WITNESS my hand and seal of the Company this I J.Y'-day of            :J~                ,20...J::Z
                                               PER:_    _,,M~.,..~...,-!'~I!=--:---:---~-----:__
                                                                    (Secretary)




Keith Driver   President          //0---
                                 '(Piea;e Sign)




                                                                                                         APP0063
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                                      DIRECTION TO CANCEL


   TO:     TMX Trust Company ("TMX Trust")
           Toronto, Ontario

   RE:     DIRECTION TO CANCEL

   You are authorized and directed, as transfer agent and registrar of Vero Blue Farms
                                                                                             Inc.
   to cancel from the securityholder register share certificate the following certificat
                                                                                         e and
   reduce the share capital of Vero Blue Farms Inc. accordingly.


                      Total Number of          Registration (exactly as it appears on
                                               certificate)




   I certify that the return to treasury of these securities is not in violation of any applicab
                                                                                                 le
   laws or regulations, including applicable securities laws and regulations, and exchang
                                                                                                 e
   regulations.

  VeroBlue Farms Inc. agrees to indemnify and hold harmless TMX Trust, its success
                                                                                           ors
  and assigns, and each of their respective directors, officers, employees and agents
                                                                                           (the
  "Indemnified Parties") against any demands, claims. assessments, proceedings,
                                                                                       suits,
  actions, costs, judgments, penalties, interest, liabilities, losses, damages, expense
                                                                                         s and
  disbursements (including legal fees and disbursements on a substantial indemni
                                                                                      ty or
  solicitor and client basis) that the Indemnified Parties, or any of them , in consequ
                                                                                        ence
  of, arising from or in any way relating to acting on this direction.

                                    [Signature page follows]




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   Dated as of the _ _ day of January, 2017.



                                           VEROBLUE FARMS INC.



                                               Per:
                                                      Leslie Wulf
                                                      Chief Executive Officer




                                                                                   APP0065
